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                             UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA



DJENEBA SIDIBE, JERRY JANKOWSKI,
SUSAN HANSEN, DAVID HERMAN,
OPTIMUM GRAPHICS, INC., and JOHNSON
POOL & SPA, on Behalf of Themselves and All
Others Similarly Situated,

                    Plaintiffs,

       v.                                                  Case No. 3:12-cv-4854-LB

                                                           CLASS ACTION

SUTTER HEALTH,

                    Defendant.




                   Supplemental Reply Declaration of Dr. Tasneem Chipty
                                  In Support of Class Certification
                                          March 12, 2020




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I.       Introduction

         1.       My name is Tasneem Chipty. I declare under penalty of perjury under the laws of
the United States of America as follows:

         2.       At the request of counsel for the Class Plaintiffs, I previously submitted seven
reports/declarations in Sidibe et al. vs. Sutter. 1 Most recently, I submitted a report that provided
new econometric analyses calculating the substantial rates at which Class Health Plans pass
through Sutter hospital overcharges to employers, employees, and individual consumers, in the
form of higher health insurance premiums.2 In that report and among other things, I estimated
pass-through rates: (a) by Class Health Plan; (b) by Class Health Plan and line of business; and
(c) on a class-wide weighted average basis (which I estimate to be 97.16 percent). In that report,
I also described prior econometric analyses of pass-through conducted by me and Sutter’s expert,
Dr. Willig, that also showed substantial pass-through rates of Sutter hospital overcharges to
consumers. In this report, I describe and respond to the new arguments made by Dr. Willig and
Mr. Travis in response to my latest report. 3

         3.       I am an expert in the areas of industrial organization and econometrics, which is
the application of statistical methods to economics problems. I have taught graduate
econometrics while I was on faculty at the Ohio State University and Brandeis University. I have
also taught graduate and undergraduate microeconomics, including competition economics, at
Ohio State, Brandeis, and the Massachusetts Institute of Technology. For the past 25 years, I
have studied the competitive interactions among firms and the factors that determine their prices,
in a wide range of applications. My work has been published in leading academic journals, and it
has been influential in real-world settings, including both merger and non-merger cases. I am the




1
  The opinions expressed in my previous reports/declarations in this matter are incorporated by reference herein. I
adopt in this report the citation shorthand and the use of terms as defined in my previous reports, and my updated
CV is included here as Appendix A.
2
  Supplemental Declaration of Dr. Tasneem Chipty, November 18, 2019 (“Chipty Supplemental Declaration”).
3
  Supplemental Declaration of Dr. Robert D. Willig, January 31, 2020 (“Willig Supplemental Declaration”); and
Rebuttal Declaration of Patrick Travis, January 31, 2020 (“Travis Rebuttal Declaration”).




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co-editor of the current edition of Proving Antitrust Damages, a book published by the American
Bar Association that describes the use of regression methods to estimate overcharges and pass-
through in the context of proving antitrust damages.

         4.      I have substantial expertise in the econometric methods that are required to
estimate the factors that affect health insurance premiums in this case. I have provided
econometric analyses in expert reports and testimony to federal courts, government agencies in
the U.S. and abroad, and the World Trade Organization. I also have substantial experience and
expertise studying different aspects of healthcare systems, often using econometric methods. For
example:

    x    As an expert for Steward Healthcare, I studied the effects of Steward’s acquisition of
         Morton Hospital, in the greater Boston area. Consistent with my analysis showing
         potential cost savings that would flow to consumers, the Massachusetts Attorney
         General’s Office approved the transaction.

     x   As an antitrust advisor to the Massachusetts Health Policy Commission, I studied,
         among other things, the competitive effects of two proposed hospital acquisitions of
         Partners Healthcare System, in Massachusetts, the same two transactions on which Dr.
         Willig provided expert testimony for Partners supporting the acquisitions. Consistent
         with my work, the Suffolk Superior Court in Massachusetts, relying heavily on the
         submission by the Health Policy Commission, found the transaction would likely be
         anticompetitive. The Court explained that the cost increases that were likely to result
         from the transactions would “ultimately be borne by consumers and employers in the
         form of higher insurance premiums and higher deductibles on their insurance plans,” 4
         thus recognizing the inevitable pass-through of healthcare costs to premiums.

     x   As an expert for the Antitrust Division of the Department of Justice, I submitted an
         expert report in an antitrust lawsuit challenging the anti-steering restrictions imposed by




4
  Memorandum of Decision and Order on Joint Motion for Entry of Amended Final Judgement by Consent,
Commonwealth of Massachusetts Suffolk, ss. Superior Court, SUCV2014-02033-BLS2, Commonwealth vs.
Partners Healthcare System, Inc. & Others, January 29, 2015, available at https://www mass.gov/doc/partners-
memo-of-decision-and-order/download, site visited March 8, 2020, p. 2.


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         Carolinas Healthcare System (now Atrium) in contracts with health plans in North
         Carolina. Dr. Willig describes working for Atrium on a sister case, involving the same
         conduct in North Carolina. Based on my opinion in that case, the government explained
         that “Atrium’s steering restrictions interfered with the competitive process, resulting in
         fewer choices and higher costs for consumers,” and Atrium settled that case, agreeing to
         strike its anti-steering restrictions from its contracts.5

My work on these and other healthcare matters, some of which are described in my CV, shows
that I have substantial experience and expertise in assessing the competitive effects of hospital
system conduct, including issues related to hospital overcharges and the relationship between
hospital prices, healthcare spending generally, and premiums for health insurance.

        5.       As part of my work assessing Dr. Willig’s and Mr. Travis’ new reports, I have
reviewed Dr. Willig’s February 25, 2020 deposition transcript,6 Mr. Travis’ February 27, 2020
deposition transcript,7 and additional URRT filing data. These and other materials upon which I
rely are cited throughout this report. A full list of the incremental materials that I considered is
included in Appendix B.

        6.       The work presented in this report has been conducted by me and staff working
under my direction, at both Berkeley Research Group and Matrix Economics. Matrix Economics
receives $850 per hour for my work in this matter. Matrix Economics also receives
compensation from Berkeley Research Group based on its collected staff billings in support of
this effort. My compensation is not dependent on the outcome of this matter. My work is
ongoing, and I will continue to review the discovery record to understand the evidence in this
case. I reserve the right to supplement and to amend my opinions.




5
  Department of Justice, “Atrium Health Agrees to Settle Antitrust Lawsuit and Eliminate Anticompetitive Steering
Restrictions,” November 15, 2018, available at https://www.justice.gov/opa/pr/atrium-health-agrees-settle-antitrust-
lawsuit-and-eliminate-anticompetitive-steering, site visited March 8, 2020.
6
  Deposition of Robert D. Willig, Ph.D., February 25, 2020 (hereafter “Willig Deposition (February 25, 2020)”).
7
  Deposition of Patrick Travis, February 27, 2020 (hereafter “Travis Deposition (February 27, 2020)”).


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II.       Summary of Opinions

          7.     The bulk of the new reports submitted by Dr. Willig and Mr. Travis challenge my
opinion that pass-through rates are uniformly high and significant. As I explain, there is a
substantial volume of quantitative and qualitative evidence in this case that shows that pass-
through rates are uniformly high and significant, and most of Dr. Willig’s and Mr. Travis’ claims
to the contrary stem from misleading and exaggerated arguments. Dr. Willig also revisits
whether a proportional split of damages between employers and employees reasonably estimates
individual Class Member damages. As I discuss more fully below and have previously shown,
quantitative and qualitative evidence, including Mr. Travis’ own testimony, shows that a
proportional split is reasonable.

          8.     Before discussing where Dr. Willig’s arguments fail, I highlight three important
assessments that Dr. Willig does not challenge:

      x   First, Dr. Willig does not challenge that Class Health Plans pass-through Sutter prices to
          consumers of health insurance. To be sure, his own analyses demonstrate that Class
          Health Plans’ pass-through rates of these prices are positive, substantial, and statistically
          significant.

      x   Second, Dr. Willig does not challenge that data produced by Health Net, Aetna, and
          United are either not useable or otherwise are not reliable for the purpose of estimating
          pass-through. As I have explained, it was not possible to use Production Data from these
          three Class Health Plans to reliably estimate pass-through for their individual, small, or
          large group lines of business (or estimate a weighted average pass-through rate for the
          Class as a whole). However, while I provided pass-through estimates for each of the
          Class Health Plans (including Health Net, Aetna, and United) using the MLR Data, Dr.
          Willig has not.

      x   Third, Dr. Willig does not challenge that: (a) pass-through is positive, substantial,
          and statistically significant regardless of the competitive presence of Kaiser Health
          Plan; (b) both of our pass-through estimates show that Class Health Plans’ pass-
          through rates tend to be higher, if not about the same, when Kaiser Health Plan has
          a stronger competitive presence; and (c) Kaiser has a stronger competitive presence
          in Northern California. Taken together, these facts imply that, if anything, my pass-


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        through estimates using state-wide MLR Data are conservative. In other words, it is
        likely that the weighted average pass-through by Class Health Plans is even higher
        than 97.16 percent in the nine Class RAs.

        9.        Despite these agreements, Dr. Willig makes new arguments criticizing my pass-
through rate estimates. These arguments are misleading and often incorrect. I note at the outset
that Dr. Willig accuses me of “assuming” a “uniform” pass-through rate for all Class Members. 8
I have not done so. What I have done is estimated pass-through rates in various different
dimensions using data that is appropriately aggregated. Moreover, I have calculated an overall
weighted average pass-through rate for the Class. Dr. Willig knows that taking an average do not
suggest that the various inputs that went into the calculation of that average are “uniform.”9

        10.      Dr. Willig also criticizes my average pass-through rate estimates saying they
“mask[] variation” among Class Members. Dr. Willig argues that, in light of this “variation,” the
damages Class should not be certified. This criticism rings hollow. This is seen most starkly by
the fact that Dr. Willig, himself, relies upon averaging throughout his opposition report.10 This
criticism is also undone by Dr. Willig’s admission that there is no standard in economics of
which he is aware that quantifies when variation is too great amongst Class Members to analyze
claims and evidence on a class basis. 11 It is in fact a judgment call as to whether variation is so
great as to be of concern.12 In my judgment, based on the evidence and the analyses that I have
completed, the variation in pass-through rates in this case is not significant enough to undermine




8
  See, e.g., Willig Supplemental Declaration, ¶¶ 31 and 38.
9
  Willig Deposition (February 25, 2020), p. 34 (“Q: So my question is the numbers that go into the average
calculation, when you have calculated averages, have all of the numbers that have gone into that calculation been the
exact same number? A: Why no.”)
10
   Willig Deposition (February 25, 2020), pp. 118 (noting that his Table 1 figures that present RA-by-RA pass-
through rate estimates “average over the nine or ten” years relevant to the calculations), 136, and 145 (noting that
point estimates were based on statewide data).
11
   Willig Deposition (February 25, 2020), p. 194.
12
   Willig Deposition (February 25, 2020), pp. 194-196.




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a class analysis. My opinion continues to be that the Class suffered a common impact as a result
of Sutter’s conduct.

         11.     Analyzed correctly, Dr. Willig’s own analyses support my conclusion that: (a)
pass-through rates are uniformly high and significant; and (b) it is reasonable to average pass-
through rates, over time, across lines of business, and across Class Health Plans. Highlights of
some of the issues with Dr. Willig’s arguments are as follows:

a. First, a closer look reveals that Dr. Willig has reported pass-through rates on a percentage-
     basis, not a dollars-basis. 13 The effect of this decision falsely gives the appearance of lower
     pass-through rates. Expressed on a dollars-basis, as is required to apply specific econometric
     pass-through rate estimates to calculate damages, it becomes apparent that Dr. Willig’s
     estimates are substantially higher than they appear. For example:

     x   In Table 1 of his report, Dr. Willig reports pass-through rates by RA. For RA 1, he
         reports pass-through rates to be: (a))           ffor Anthem individual; (b))           ffor Anthem
         small group; and (c))          ffor Blue Shield small group. On a dollars-basis, these pass-
         through rates are actually: (a))                      ffor Anthem individual; (b))
         for Anthem small group; and (c))              (nott       ffor Blue Shield small group. See Exhibit
         1 below.

     x   In Figure 2 of his report, Dr. Willig reports pass-through rates for different time periods.
         He reports that all pass-through rates are below 100 percent. Had he reported pass-




13
  Willig Supplemental Declaration, Footnote 56. In my Class Reply Declaration, I also reported pass-through rates
on a percentage basis. However, in that report, I was not directly using the econometric pass-through estimate to
calculate class-wide damages; instead, I used the econometric pass-through estimates to corroborate the substantial
qualitative evidence in this case that showed that the Class Health Plans passed through approximately all
overcharges to Class Members in the form of higher premiums. However, in light of the Court’s Class Order, I now
use the econometric pass-through estimates to calculate damages. To do so requires multiplying the dollars of
overpayment by the Class Health Plans to Sutter by pass-through on a dollars-basis. Thus, it is now necessary to
transform pass-through on a percentage-basis to pass-through on a dollars-basis. Yet, Dr. Willig refuses to do that.
Accordingly, as I explained in my Supplemental Declaration (and Dr. Willig does not dispute the need to do so), I
calculated pass-through rates on a dollars-basis. See Chipty Supplemental Declaration, ¶ 88.




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         through rates on a dollars-basis, one would have seen that four of the five pass-through
         estimates for the 2011 to 2014 period are over 100 percent. See Exhibit 3 below.

     x   In Table 6 of his report (repeating Table 1 of his Class Declaration), Dr. Willig reports
         pass-through rates ranging from
                                       m                  ((for Aetna) to
                                                                        o            ((for United). On a
         dollars-basis, Dr. Willig’s estimates range from 40 percent to 163 percent, and all of his
         estimates—including the Aetna estimate—have confidence intervals that include or
         exceed 100 percent.14

b. Second, the analyses where Dr. Willig finds substantially lower pass-through rates are based
     on questionable design decisions. For example:

     x   In Table 1 of his report, Dr. Willig describes all RAs, not the Class RAs. Had Dr. Willig
         studied the pattern, he would have found generally higher pass-through rates in the Class
         RAs, and he would have found it would be conservative to average across Class and Non-
         Class RAs. See Exhibit 1 and Exhibit 2 below. (This too supports my conclusion that the
         statewide MLR Data pass-through rates that I have estimated are conservative.)

     x   In Table 2 of his report, he “slices and dices” the data into very small samples. In a few
         cases, he gets negative or close to zero pass-through rates. When asked in his deposition
         whether he believed his anomalous results, Dr. Willig answered, “In reality, no.”15

c. Third, in many places, Dr. Willig grossly mischaracterizes my work and opinions. For
     example:

     x   Dr. Willig states that I “justif[y] estimating the pass-through rates at the health
         plan/line of business level across the entire state by suggesting that carriers pool
         their risk at the state level.” 16 That is simply not true. I have explained that health




14
   Chipty Supplemental Declaration, ¶ 89,
15
   Willig Deposition (February 25, 2020), p. 144:21-24.
16
   Willig Supplemental Declaration, ¶ 32.




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         plans pool risk for individuals and small groups at the RA-level and for large groups
         at the state-level. 17 My analysis shows that: (a) one could study individual and small
         group pass-through at the RA-level, but analysis supports averaging at the state-
         level; 18 and (b) one should not study large groups at the RA-level because attempting
         to split a large group across RAs creates a mismatch of costs and premiums.

     x   Dr. Willig says, “Dr. Chipty does not present any analysis of whether the significant
         disparity in Kaiser presence across geographic RAs impacts cost pass-through, and
         she cannot do so using her favored MLR data.” 19 Dr. Willig’s statement is
         misleading. As I have explained, my MLR Data analysis accounts for variation in
         Kaiser presence, over time, across lines-of-business, and by regulator.20 Further, my
         Production Data analysis (stemming from Dr. Willig’s own analysis) shows that
         pass-through does not vary systematically with differing levels of Kaiser presence
         across geographies. 21

         12.     Dr. Willig and Mr. Travis also challenge whether the California MLR Data reflect
the experience of all Class Members because of CMS’s reporting requirement with respect to
multi-state insurance products.22 Neither Dr. Willig nor Mr. Travis offers any evidence, either
quantitative or qualitative, with respect to the magnitude of the so-called problem on which they
focus. Mr. Travis clarified in his deposition that the MLR Data are not “inaccurate” and that
what he was trying to say is that “the MLR data are perhaps inappropriate for” studying pass-
through, but that he has not done any analysis as to whether in fact they are actually




17
   Chipty Merits Report, ¶ 36.
18
   Chipty Supplemental Declaration, ¶¶ 93-95; and Deposition of Tasneem Chipty, January 15, 2020 (hereafter
“Chipty Deposition (January 15, 2020)”), pp. 237-238.
19
   Willig Supplemental Declaration, ¶ 66.
20
   Chipty Supplemental Declaration, ¶¶ 62-65.
21
   Chipty Supplemental Declaration, Exhibits 13 and 14.
22
   Willig Supplemental Declaration, ¶ 113; and Travis Rebuttal Declaration, ¶¶ 10-11.




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inappropriate.23 Dr. Willig testified at his deposition that he does not dispute that health plans’
MLR filings provide true and correct data.24 In this report, I describe both quantitative and
qualitative evidence that demonstrates that Dr. Willig’s and Mr. Travis’ concerns with respect to
this issue are exaggerated and misleading.

         13.      Finally, Dr. Willig continues to challenge whether a proportional split of the
damage award between employers and employees is reasonable.25 Although, he now concedes
the employer-employee relationship is not a pass-through relationship, 26 and that a proportional
split is reasonable where employers and employees split the premium bill proportionally. 27 As I
have explained, accounting for the different premium-sharing arrangements is straightforward.
Dr. Willig appears to suggest that in some situations (involving a fixed employee contribution or
an employer pegging its contribution to a product that does not include Sutter), there would be
no harm to either the employee or the employer, when comparing the actual and the but-for
world without Sutter’s conduct. 28 His logic is faulty: (a) he has no support for his conjecture that
the employee’s (or employer’s) contribution would have stayed the same in the but-for-world;
and (b) even if the contribution would have stayed the same, there could still be harm to both
employer and employee. Both quantitative and qualitative evidence shows that a proportional
split of the damage award between an employer and its employees, based on the actual cost-
sharing arrangement, will either exactly or reasonably compensate each Class Members for the
damage they incurred from the challenged conduct. Based on his deposition testimony, it appears
that Mr. Travis agrees with me. 29 Further, I show that Dr. Willig’s arguments about the lack of
adequate premium payment records for the named Plaintiffs are false. 30




23
   Travis Deposition (February 27, 2020), p. 30 (emphasis added).
24
   Willig Deposition (February 25, 2020), p. 77.
25
   Willig Supplemental Declaration, ¶¶ 98-103.
26
   Willig Supplemental Declaration, ¶ 97.
27
   Willig Supplemental Declaration, ¶ 103 (“Dr. Chipty’s suggested approach fails to account for those situations in
which the contribution split was not done on a percentage basis but in which the contribution of one side or the other
was fixed.”)
28
   Willig Supplemental Declaration, ¶ 103.
29
   Travis Deposition (February 27. 2020), pp. 171-173.
30
   See Appendix D for exemplar premium payment records for each of the named Plaintiffs.


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           14.      After having considered the arguments offered by Sutter’s experts, my
overarching opinions on the issue of class certification remain as follows: (a) a common method
exists to demonstrate that Sutter’s contracting practices have resulted in harm to all or nearly all
Class Members; (b) evidence that is common to members of the proposed Class shows that all or
nearly all proposed Class Members paid higher health insurance premiums as a result of Sutter’s
conduct; and (c) the amount of harm to the proposed Class can be estimated on an aggregate and
an individual level using a common, formulaic methodology.


III.       Dr. Willig’s Arguments About Pass-Through Variability Are Misleading and False

           15.      Dr. Willig says that “cost pass-through varies significantly across geographies,
including the geographic RAs” 31 and that pass-through rates estimated using data from 2011 to
2018 do not reflect pass-through rates for 2008 to 2010. 32 A closer look at Dr. Willig’s
arguments shows that he mischaracterizes much of my analysis and takes statements out of
context. To be clear, my MLR analysis provides estimates of average pass-through across RAs,
over products sold through a given California regulator (separately for DHMC and CDI), and
over the years 2011 to 2018; these estimates vary by line of business, and by Class Health Plan.
A series of corroborating analyses, including some of Dr. Willig’s own analysis, shows that
averaging: (a) across the Class RAs is reasonable; and (b) across the state is also reasonable, and
if anything, conservative for the purpose of computing damages. Analysis also shows that pass-
through rates from 2011 to 2018 are a reasonable proxy for pass-through rates in the earlier
years.

           16.      As I explain here, most of Dr. Willig’s arguments stem from an exaggerated
aversion to averaging. However, economists (including Dr. Willig) often find averaging to be
reasonable. Further, Dr. Willig overstates the variability in pass-through rates across geography




31
     Willig Supplemental Declaration, ¶ 29.
32
     Willig Supplemental Declaration, ¶ 38.




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and time, and his argument that I have “ignored” variability across lines of business and health
plans is simply false.

        A.       Dr. Willig Misunderstands the Use and Purpose of Averaging

        17.      Many economists (including Dr. Willig) find it appropriate to use averages in
some situations. There would be no point to averaging if there were no variability. Economists
prefer averaging when it simplifies unnecessary complexity. 33 Averaging in situations where
there is relative stability in more disaggregate estimates is especially preferred. As I have
explained, Dr. Willig overstates the variability in pass-through rates, by geography, over time,
and by line of business. Dr. Willig is also inconsistent: while he criticizes my use of averaging,
he himself averages in his analyses in this case, and he uses the results of those analyses without
questioning the validity of his averaging. 34 Elsewhere, Dr. Willig admitted that he was not aware
of “an economic standard that identifies, with respect to pass-through rates and the issue of class
certification, how much variation is too much.” 35

        18.      Further, Dr. Willig has not provided any quantification of how the variability in
pass-through estimates in my analysis compare to those of other experts who have also used
averaging to arrive at an opinion in class certification cases. For example, Dr. Flamm in
Qualcomm presented pass-through estimates that ranged from: (a) 89.6 percent to 174.6 percent
for original equipment manufacturers;36 (b) 43.0 percent to 95.3 percent for wireless carriers;37




33
   Regression estimates themselves are averages. When asked at his deposition, “[d]o averages ever summarize or
represent the general significance of a set of unequal values in your estimation,” Dr. Willig answered, “I think it
could, depending upon the context and the use of that summary.” Willig Deposition (February 25, 2020), pp. 38-39.
34
   For example, Dr. Willig admitted he averages in Willig Supplemental Declaration, Table 1. He explained in his
deposition that the estimates presented in his Table 1 “reflect average pass-through rates for th[e] multiyear time
period that [he] referenced.” He also explained that the estimates presented in his Table 1 include “the average
calculations for all four of the lines studied in Table 1, Anthem individual, Anthem small group, Anthem large
group, and Blue Shield small group.” Willig Deposition (February 25, 2020), pp. 117 and 136.
35
   Willig Deposition (February 25, 2020), p. 194.
36
   Flamm Qualcomm Report, Table 17.
37
   Flamm Qualcomm Report, Table 18.




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(c) 89.1 percent for a single distributor (assumed to be the same for all distributors); 38 and (d)
94.1 percent to 126.7 percent for retailers. 39, 40 By comparison, my pass-through rates by line-of-
business, by Class Health Plan range from 56 percent to 138 percent,41 and my pass-through
rates by Class Health Plan range from 83 percent to 107 percent. 42 Dr. Flamm first averages his
pass-through estimates by channel, then he multiplies the different averages to account for the
different combinations of channels (e.g., from OEM, to carrier, to end purchaser) to construct a
weighted average pass-through rate.43 Thus, the order in which Dr. Flamm implements his
calculations masks the significantly more variation that exists in his application, than is apparent
from his presentation. Finally, I observe that: (a) my pass-through estimates are based on an
analysis of significantly more relevant data than Dr. Flamm’s; 44 and (b) my damage calculation
relies on a weighted average pass-through estimate that caps pass-through at 100 percent. For
these reasons, my analysis is both more reliable and more conservative than Dr. Flamm’s.

         19.      Dr. Willig argues that it is inappropriate to compare my analysis to Dr. Flamm’s
because of differences between cell phones and healthcare. 45 No one is arguing that the two are
the same. If anything, I have explained that the empirical challenges in this case are simpler in
some respects, and there is a much stronger connection between costs and premiums in this case,
given the nature of premium construction and regulatory oversight. The point is that the




38
   Flamm Qualcomm Report, Table 19 and Footnote 259.
39
   Flamm Qualcomm Report, Table 20.
40
   In ODD II, Plaintiffs’ expert’s pass-through estimates also exhibited variability. For example, pass-through
estimates for: (a) different Dell computer brands ranged from 40 percent to 130 percent; and (b) different retailers
ranged from 64 percent to 141 percent. See, “[Corrected] Declaration of Dr. Kenneth Flamm in Support of
Plaintiffs’ Motion for Class Certification,” In re Optical Disk Drive Antitrust Litigation, Case No. 3:10-md-2143
RS, filed May 28, 2015, Pass-Through Exhibits 1 and 7.
41
   Chipty Supplemental Declaration, Exhibit D2.
42
   Chipty Supplemental Declaration, Exhibit 6.
43
   Flamm Qualcomm Report, Table 23.
44
   As explained in my prior report, Dr. Flamm claims to have data representing about 90 percent of all cell phone
sales, but he uses in his analysis data representing only 7.3 percent of cell phone sales. See Chipty Supplemental
Declaration, Footnote 23.
45
   Willig Supplemental Declaration, ¶ 120.




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methodology and the pattern of variability that the Court in Qualcomm found to be acceptable
can shed light on the validity of some of Dr. Willig’s arguments.

        20.      Finally, Dr. Willig claims that I “ignore variation across health plans and lines of
business.” 46 This is untrue. I present three different sets of pass-through estimates using MLR
Data that were calculated: (a) first, by Class Health Plan; (b) second, by Class Health Plan, by
line of business; and (c) third, by line of business. Upon consideration of the pattern of
variability and the reasonableness of averaging, I concluded that constructing a weighted average
pass-through rate based on the first set of estimates was reasonable.

        B.       Dr. Willig Overstates Variability Across Geographies

        21.      Dr. Willig says that my “insistence on aggregating data to the highest possible
level of geographic aggregation when estimating cost pass-through causes” problems.47 As I
have explained, health plans pool costs within RAs for their individual and small group lines of
business. Thus, an RA-level analysis is the lowest level of disaggregation for these lines of
business. Further, the data show that the variability across RAs is relatively low and that it is
reasonable to average across the RAs for these lines of business. 48 Moreover, health plans pool
costs statewide for their large group line of business. For this line of business, it is entirely
inappropriate to estimate RA-level pass-through rates.

        22.      Dr. Willig presents a series of pass-through estimates, disaggregated by RA, for
each of the following health plan-line of business combinations: (a) Anthem individual; (b)
Anthem small group; (c) Anthem large group; and (d) Blue Shield small group. 49 I observe at the
outset that Dr Willig’s large group, RA-level analysis is nonsensical. Dr. Willig himself
previously admitted that “for Anthem and Blue shield data on large groups, it is not possible to




46
   Willig Supplemental Declaration, § V.
47
   Willig Supplemental Declaration, ¶ 29.
48
   Chipty Supplemental Declaration, ¶¶ 92-94.
49
   Willig Supplemental Declaration, Table 1 and Figure 1.




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split the group-level premiums to individual Rating areas.” 50 Yet, he now claims to use one of
my algorithms that was designed to show the distribution damages, by RA. 51 Dr. Willig’s off-
the-shelf use of one of my algorithms was entirely inappropriate: it was not designed to study
pass-through. As I have explained, one cannot study large group pass-through at the RA-level,
because large group premiums are set statewide and attempting to split a large group across RAs
creates a mismatch of costs and premiums. Thus, I ignore Dr. Willig’s large group RA-level
analysis.

         23.      Dr. Willig concludes based on his Table 1 analysis that “[t]he differences in cost
pass-through across RAs are economically significant, and in many cases the differences are also
statistically significant.” 52 Remarkably, Dr. Willig’s Table 1 shows pass-through estimates on a
percentage-basis, and he pools Class and non-Class RAs in his statistical testing. 53 Exhibit 1 re-
presents Dr. Willig’s Table 1 by converting the estimates to a dollars-basis, separately for the
Class and non-Class RAs. 54 In his deposition, Dr. Willig did not dispute the need to convert from
a percentage- to a dollars-basis, 55 nor did he dispute my arithmetic in so doing. 56 Instead, he
quibbled with the conversion factor I used to translate pass-through on a percentage-basis to
pass-through on a dollars-basis. 57 To the extent Dr. Willig is arguing that the conversion factor
should vary by RA, he has provided no evidence to suggest the ratio of premiums to costs varies




50
   Willig Merits Report, Footnote 492.
51
   Willig Deposition (February 25, 2020), pp. 123-124 and 183.
52
   Willig Supplemental Declaration, ¶ 35.
53
   Willig Deposition (February 25, 2020), p. 120 and Willig Supplemental Declaration, ¶ 36 and Footnote 56.
54
   Dr. Willig says in his Supplemental Declaration that “it is unclear [to him] why [I] made this change” to a dollars-
basis, though he does not actually dispute its legitimacy. (Willig Supplemental Declaration, Footnote 186.) Dr.
Willig’s statement is particularly surprising because it is well-known that pass-through has to be stated on a dollars-
basis for calculating dollar damages, and Dr. Willig himself made that conversion in calculating an implied pass-
through rate using estimates in the Ho and Lee paper. See Chipty Supplemental Declaration, § III.D.
55
   Willig Deposition (February 25, 2020), pp. 120-121.
56
   Willig Deposition (February 25, 2020), pp. 162-163.
57
   Willig Deposition (February 25, 2020), pp. 164-166.




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systematically by RA. Furthermore, had I used a conversion factor based on the Production Data,
I would have computed higher pass-through rates. 58

          24.       Exhibit 1 shows Dr. Willig’s estimated pass-through rates on a dollar-basis, by
RA, separately for the Class and non-Class RAs.


                   Exhibit 1: Dr. Willig’s Table 1 RA-Level Passthrough Estimates,
                                     Calculated on a Dollar-Basis




     Notes:
     1. Weighted averages are weighted by premium dollars.
     2. Asterisks ** and *** represent statistical significance at five percent and one percent levels, respectively.
     Sources: Willig Supplemental Declaration, Table 1 and backup production; and MLR Data.




58
  The conversion factor is: premium ÷ cost, and pass-through on a dollars-basis = pass-through on a percentage-
basis x the conversion factor. Because the cost in the MLR Data > the cost in the Production Data, it necessarily
follows that a conversion factor based on the Production Data is smaller than the conversion factor based on the
MLR Data and my method is conservative.


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Remarkably, Dr. Willig’s own analysis shows that pass-through rates in each of the Class RAs
are high and statistically significant. Moreover, a comparison of the pass-through rates across the
Class (top panel) and non-Class (bottom panel) RAs shows that pass-through rates are higher in
the Class RAs. This fact shows that averaging across all RAs is conservative for the purpose of
calculating pass-through for Class RAs. Furthermore, running Dr. Willig’s statistical test for
“equality” across just the Class RAs shows that one cannot reject equality in two of the three
cases; thus, his own test supports averaging. 59

           25.      For Anthem small group, where the statistical test rejects equality, it is instructive
to look at the actual pass-through estimates. Exhibit 2 replicates Dr. Willig’s Figure A2, for
Anthem small group, only it shows pass-through on a dollars-basis and it depicts the confidence
intervals around each pass-through estimate. 60 As seen here, each of the pass-through rates is
significantly different from zero and with one exception not significantly different from pass-
throughs                                 . Thus, beyond the statistical testing, the variability in the pass-
through estimates has little economic significance, particularly since I cap my pass-through rates
at 100 percent, in computing an overall weighted average pass-through rate. Further, the pattern
of results suggests that equality may be satisfied using a different statistical test.




59
     See Chipty Workpapers.
60
     Appendix E presents exhibits for Anthem individual and Blue Shield small group.


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           Exhibit 2: Dr. Willig’s Figure A2 Showing RA-Level Pass-Through Estimates,
                      Calculated on a Dollar-Basis, with Confidence Intervals,
                                      for Anthem Small Group




         Sources: Willig Supplemental Declaration, Figure A2 and backup production; and MLR Data.


           26.      In sum, Dr. Willig’s table and figures give the false impression of lower pass-
through rates, because he insists on presenting pass-through on a percentage-basis. Moreover, he
overstates the geographic variability in the pass-through rates by conflating the Class and non-
Class RAs. And, he ignores the lack of economic significance in the variance of the estimated
pass-through rates. Exhibit 1 and Exhibit 2 show that, in this case, geographically aggregated
pass-through models provide reasonable estimates and do not “mask” impact or non-impact for
any Class Members. 61 As Dr. Willig himself concedes, he estimated positive and significant




61
     The results are similar for other health plans and lines of business. See Appendix E.




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pass-through rates in each Class RA. 62 These analyses strongly support a conclusion of class-
wide impact.

        C.       Dr. Willig Overstates Variability Across Time

        27.      In my prior report, I estimated pass-through rates using both the MLR Data from
2011 to 2018 and Production Data from 2006 to 2015/2016. 63 Of the eleven years from 2008 to
2018, for which the Class seeks damages: (a) the MLR Data span eight or 73 percent of the
years; and (b) the Production Data span nine or 82 percent of the years. Moreover, the MLR Data
are weighted towards second half of the damage period, and the Production Data are weighted
towards the first half of the damage period. The estimates from both sets of analyses showed
uniformly high and significant pass-through rates and were highly corroborative of each other.
Taken together, these facts (coupled with the qualitative evidence) gave me sufficient
information to conclude that using the pass-through rate estimated using the MLR Data is
reliable for the entire damage period.

        28.      Dr. Willig argues that my pass-through estimates are “unreliable” because my
analysis “assumes uniform pass-through across time periods.” 64 He suggests the passage of the
ACA invalidates the use of the MLR Data for 2008-2010.65 Dr. Willig claims that pass-through
estimates using the Production Data “show that there is significant variation across time periods
in cost pass-through rates.” 66 He also suggests “there is substantial variation in pass-through
estimates between… two sub-periods for some carriers” using the MLR Data. 67 I respond to
these three arguments here.




62
   Deposition of Robert Willig (February 25, 2020), pp. 124-129.
63
   Specifically, the Anthem individual and Blue Shield small group analyses used data from 2006 to 2015, and the
Anthem small group and large group analyses used data from 2006 to 2016.
64
   Willig Supplemental Declaration, ¶¶ 38-39.
65
   Willig Supplemental Declaration, ¶ 44.
66
   Willig Supplemental Declaration, ¶ 38.
67
   Willig Supplemental Declaration, ¶ 55.




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         29.      As I explained in my deposition, the passage of the ACA was an important
milestone, and it provides a unique opportunity to study how the Class Health Plans change their
premiums when faced with higher costs. In the academic literature, such an event is described as
a “natural experiment,” responses to which can be very informative.68 Dr. Willig twists the facts
to suggest that data post-ACA cannot be used to learn about behavior pre-ACA. Dr. Willig’s
argument ignores the fact that pre- and post-ACA, the Class Health Plans: (a) faced similar
competitive conditions; (b) faced an MLR requirement, with California regulations governing
pre-ACA and federal regulations governing post-ACA; and (c) set premiums in accordance with
well-established actuarial principles. These commonalities pre- and post-ACA imply that the
post-ACA data can be used to learn about the pre-ACA pass-through rates.

         30.      Dr. Willig attempts to argue temporal variability by reviving his prior analysis in
which he sliced and diced the Production and URRT Data into small subsamples.69 For example,
Dr. Willig presents the results of a regression analysis for Anthem small group for two different
time periods: (a) 2012 to 2014; and (b) 2014 to 2016. For each subsample, Dr. Willig only has
three or five data points; not surprisingly, there is more variability in the estimated pass-through
rates as a result of his specious sample construction.70 In the case of Anthem small group, Dr.
Willig finds a pass-through rate from 2012 to 2014 of                     . When asked whether he believed
these anomalous results in his deposition, Dr. Willig answered, “In reality, no.”71 Three of the
four rows in his table show visibly anomalous results                                             . Given that Dr.




68
   See, e.g., Stock, James and Mark Watson, Introduction to Econometrics, 2nd Edition, New York, NY: Pearson,
2007, pp. 87-88.
69
   Willig Supplemental Declaration, Table 2.
70
   About his small samples, Dr. Willig claims that because some of his estimated coefficients are statistically
significant, there should be no small samples concerns. That is not the case. As explained by researchers, “[in] noisy
small samples settings, statistically significant results can often be misleading.” See Gelman, Andrew and John
Carlin, “Beyond Power Calculations: Assessing Type S (Sign) and Type M (Magnitude) Errors,” Perspectives on
Psychological Science, 2014, Vol. 9(6), pp. 641-651, p. 641.
71
   Willig Deposition (February 25, 2020), p. 144:21-24.




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Willig does not believe his own results, he should not use them to conclude anything about
temporal variability in pass-through rates. 72

         31.      Dr. Willig also attempts to argue temporal variability modifying my MLR Data
pass-through analysis.73 Dr. Willig re-estimates my pass-through regression model by splitting
the MLR dataset into two subsamples: (a) 2011 to 2014; and (b) 2015 to 2018. This analysis is
somewhat more robust than his attempt with the Production and URRT Data (described above)
because there are multiple observations per year. Exhibit 3 re-creates Dr. Willig’s results
presented in his Figure 2 with the following four changes: (a) I convert the estimates from a
percentage-basis to a dollars-basis; (b) I include for comparison an estimate of pass-through for
the full time period for each health plan; (c) I include a horizontal line indicating 100 percent
pass-through; and (d) I show the 95 percent confidence interval associated with each pass-
through estimate. The results of Dr. Willig’s analysis simply do not support his view that there
are significant temporal differences; as seen here:

     x   The confidence intervals for all but one bar include or exceed the pass-through rate of
         100 percent, and the confidence intervals generally overlap, suggesting a lack of
         significant differences.

     x   Statistical tests show that for all health plans, except forr                   one cannot reject the
         hypothesis that the differences in the pass-through estimates based on the 2011-2014 and
         the 2015-2018 time periods are same. In other words, the results show no difference in
         pass-through between the two time periods in four of the five cases.74




72
   Willig Deposition (February 25, 2020), p. 144 (“Q: Is it your opinion that there was a
     for
     f the 2012 to 2015 period with respect to the Anthem large group offering? A: You mean in reality? Q: Yes.
A: It does seem implausible to me. Of course, what this suggests is that this kind of analysis has its foibles that one
has to be guarded against.”).
73
   Willig Supplemental Declaration, Table 3 and Figure 2.
74
   Statistical testing was performed at the five percent significance level. See Chipty Workpapers.




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       x   If anything, there appears to be a downward trend, meaning that the pass-through
           estimates from the later period (2015-2018) appear to be lower than the pass-through
           estimates from the earlier period (2011-2013): (a) the average pass-through rate for the
           earlier period iss      ppercent; and (b) the average pass-through rate for the later period is
                 ppercent. 75 This trend suggests that if anything, the average pass-through estimate
           based on the 2011 to 2018 will understate the pass-through for the earlier years 2008-
           2010.


                        Exhibit 3: Dr. Willig’s Figure 2 Pass-Through Estimates,
                                      Calculated on a Dollar-Basis




           Sources: Willig Supplemental Declaration, Figure 2 and backup production; and MLR Data, 2011-2018.




75
     See Chipty Workpapers.




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        32.      These results do not support Dr. Willig’s arguments. To the contrary, they show
that in nearly all cases, there is no systematic difference in the estimates of pass-through rates
over time and, if anything, averaging over the years is conservative. Further, all of the results
show that pass-through is uniformly high and significant. Even Dr. Willig admits that these pass-
through estimates are all positive and significant.76


IV.     Dr. Willig’s Arguments Regarding Kaiser Are Misleading and Misrepresent My
        Pass-Through Analyses

        33.      In my prior reports, I presented a series of econometric models that account for
competition from Kaiser. In each model, I found that pass-through rates were uniformly and
significant even after accounting for Kaiser. Dr. Willig challenges my analyses as “unreliable”
because, according to him, they “fail[] to account for substantial variation across geographies
and time periods in competition, including from Kaiser.”77 In this section, I explain that: (a) Dr.
Willig misrepresents my pass-through analyses with respect to Kaiser; (b) his own analyses
contradict his claim that Class Health Plans’ pass-through rates vary substantially by Kaiser
share; and (c) evidence contradicts Dr. Willig’s theory that stronger competition from Kaiser
should cause Class Health Plans to pass through less of a Sutter overcharge.

        A.       My Analyses Account for Competition from Kaiser

        34.      Dr. Willig’s fundamental arguments regarding Kaiser boil down to assertions that:
(a) I “[did] not incorporate the substantial variation in Kaiser share across geographies and time
periods” in my pass-through regressions;78 and (b) I “[did] not present any analysis of whether
the significant disparity in Kaiser presence across geographic RAs impacts cost pass-through.”79
Dr. Willig motivates his assertions by presenting figures that he claims show “significant[]”




76
   Willig Deposition (February 25, 2020), p. 152.
77
   Willig Supplemental Declaration, § IV.
78
   Willig Supplemental Declaration, ¶ 57.
79
   Willig Supplemental Declaration, ¶ 66.




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variability in the extent to which Kaiser’s RA-level discharge share changed from 2008 to 2016,
which he claims vary from 148 percent (for RA 10) to negative 14 percent (for RA 19). 80 In this
section, I explain that Dr. Willig’s figures are misleading and his assertions misrepresent my
work. 81

         35.      As I explained in my Supplemental Declaration, there are, at least, four sources of
variation in Kaiser’s competitive presence: (a) by regulator (i.e., Kaiser products are
predominantly HMO and regulated by DMHC); (b) by line of business (i.e., Kaiser has a higher
share in some lines of business); (c) over time; and (d) by geography. 82 To account for Kaiser’s
competitive presence, a pass-through regression model has to exploit at least one of these sources
of variation. My MLR Data analyses account for the first three sources of variation and my
Production Data analyses account for the fourth source of variation.

         36.      Specifically, all of my MLR Data regressions control for regulator and line of
business. 83 As sensitivities, I also estimated regressions that directly controlled for different
measures of competitive significance that vary by year and line of business: (a) Kaiser’s share of
commercial health plan member-months; and (b) HHI across all health plans, including Kaiser.84
Thus, my MLR Data analyses do account for the variation over time in Kaiser’s competitive
presence (along with other sources of variation). Further, I find that pass-through rates are




80
   Willig Supplemental Declaration, ¶¶ 62-63, Footnote 85, and Figures 4 and A4.
81
   I also note that Dr. Willig repeatedly quotes certain portions of a nearly-page-long answer I gave at deposition as
support for his argument that pass-through must be estimated using RA-level data. A closer look shows that Dr.
Willig has cherry-picked my words out of context. (Willig Supplemental Declaration, ¶¶ 65 and 70 (quoting Chipty
Deposition (January 15, 2020), p. 121).) Had he quoted my entire answer, he would have shown I explained that: (a)
“to the extent that competition from Kaiser has an influence on a health plan’s ability to pass through, we should see
that in differences across the lines of business;” and (b) “I have found is that cost is the single biggest driver [of
premiums], which is very consistent with the other evidence in the case and that differences in Kaiser’s competitive
presence [are] not nearly as important.” (Chipty Deposition (January 15, 2020), pp. 121-122 (emphasis added).)
82
   Chipty Supplemental Declaration, ¶¶ 62-65 and 76-77.
83
   Chipty Supplemental Declaration, Appendix D.
84
   Chipty Supplemental Declaration, ¶¶ 64-65, 73, and Appendix D.




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positive, highly statistically significant, and qualitatively similar, irrespective of how I account
for Kaiser’s competitive presence.85

         37.     My Production Data analyses also study the importance of geographic variability
in Kaiser’s competitive presence on pass-through:

     x   Exhibits 9 and 10 of my Supplemental Declaration compared pass-through rates in
         geographic areas with strong and weaker Kaiser presence, 86 both statewide (Exhibit
         9) and for Northern California RAs only (Exhibit 10). These analyses studied each of
         Anthem individual, Anthem small group, Anthem large group, and Blue Shield small
         group lines of business.87 My estimates showed that there are generally no
         systematic differences in the pass-through rates in Kaiser-heavy and Kaiser-light
         areas. 88

     x   Exhibits 13 and 14 of my Supplemental Declaration presented Dr. Willig’s own RA-
         level pass-through estimates, for Anthem individual and Blue Shield small group
         lines of business. Visually, those exhibits showed that there is no systematic pattern
         between Kaiser’s RA-level discharge share and Dr. Willig’s pass-through
         estimates. 89 Further, I explained that a statistical test cannot reject the hypothesis that
         Dr. Willig’s own pass-through estimates for the Class RAs are equal when applied
         to his Anthem individual and Blue Shield small group pass-through estimates.90




85
   Chipty Supplemental Declaration, ¶ 73 and Appendix D.
86
   See Chipty Supplemental Declaration, Footnote 116 for a description of how I identified “Kaiser Areas” and
“Non-Kaiser Areas.”
87
   Chipty Supplemental Declaration, ¶¶ 80-81 and Exhibits 9-10. I did not present estimates for the Anthem large
group line of business in Exhibit 10—which limits the analysis to Northern California RAs—because such an
analysis would entail splitting large groups into Northern and Southern California. (Chipty Supplemental
Declaration, ¶ 81.) As I have explained, because premiums for large groups are set statewide, attempting to split
premiums (either by RA or into Northern and Southern California) will create a mismatch of costs and premiums.
88
   Chipty Supplemental Declaration, ¶¶ 80-81.
89
   Chipty Supplemental Declaration, ¶¶ 92-94 and Exhibits 13-14.
90
   Chipty Supplemental Declaration, ¶ 94.




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Thus, contrary to Dr. Willig’s assertion, I presented multiple analyses “of whether the significant
disparity in Kaiser presence across geographic RAs impacts cost pass-through.” Dr. Willig’s
assertion is especially puzzling because elsewhere in his report, he acknowledges Exhibits 9 and
10 in my Supplemental Declaration. 91 In this context, Dr. Willig’s claims that my analyses do
not “account[] for Kaiser’s competitive significance” mischaracterize my testimony and are at
best confused.92

        38.      Dr. Willig presents new figures that display changes over time, between 2008 and
2017, in Kaiser’s RA-level discharge share. At first glance, it appears these changes are quite
significant. However, a closer look reveals they are highly misleading: Dr. Willig reports those
changes as percentage changes, but because Kaiser’s discharge share was relatively low in some
RAs in 2008, the percentage changes look large even though they are not economically large.
For example, Dr. Willig’s Figure 4 shows that Kaiser’s discharge share increased by around 30
percent for RA 9 from 2008 to 2016,93 but his figure masks that Kaiser’s discharge share
increased by about one percentage point in RA 9, from about three percent of discharges in 2008
to about four percent of discharges in 2016.94 Exhibit 4 shows Kaiser’s discharge share by RA,
for 2008 and 2016: the light blue bars show Kaiser’s discharge share in 2008, and dark blue bars
show Kaiser’s discharge share in 2016. For nearly all RAs, the change in Kaiser’s discharge
share from 2008 to 2016 was less than five percentage points—substantially less than suggested
by Dr. Willig’s figures. 95 These comparisons expose the false impression created by Dr. Willig’s
use of statistics: the facts show that they exaggerate the changes in RA-level Kaiser discharge
shares. 96




91
   Willig Supplemental Declaration, ¶ 70.
92
   Willig Supplemental Declaration, ¶ 70.
93
   Willig Supplemental Declaration, Figure 4.
94
   See Chipty Workpapers.
95
   See Chipty Workpapers.
96
   Dr. Willig fails to recognize that my MLR analysis controls for changes in Kaiser’s share of commercial health
plan members over time—which is more appropriate than controlling for changes in Kaiser discharge share over
time. In his deposition, Dr. Willig expressed regret for having studied Kaiser’s discharge share and not its
commercial health plan member share, as I did. See Willig Deposition (February 25, 2020), p. 161:17-21 (“Q. By
the way, why did you use discharge information and not enrollee information? A. I have second thoughts about that
from time to time, frankly.”).


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                            Exhibit 4: Deconstructing Dr. Willig’s Figure 4,
                           Kaiser Discharge Share by RA, for 2008 and 2016




           Sources: Willig Supplemental Declaration, Figure 4 and backup production.


           B.       Dr. Willig’s Analyses Show Pass-Through Rates Do Not Vary
                    Substantially Across Kaiser-Heavy and Kaiser-Light Areas

           39.      Dr. Willig presents four new regression analyses where he allows pass-through to
vary by Kaiser’s RA-level discharge share, using Production Data for Anthem individual,
Anthem small group, Anthem large group, and Blue Shield small group lines of business.97 Dr.
Willig claims these analyses show that “pass-through rates vary significantly across RAs with
Kaiser’s competitive presence.”98 Contrary to Dr. Willig’s claim, his analyses actually show that




97
     Willig Supplemental Declaration, ¶¶ 71-72, Table 5, and Figures 5 and A5-A7.
98
     Willig Supplemental Declaration, ¶ 71.




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pass-through rates do not vary much, if at all, across geographies with differing degrees of
Kaiser’s competitive presence.

         40.      A closer look at his Table 5 shows that Dr. Willig found no statistically
significant effect of Kaiser share on pass-through for two of the four plan-business lines he
studied (Anthem large group and Blue Shield small group). 99 Dr. Willig conceded his lack of
statistically significant findings at his deposition. 100 Further, the magnitude of Dr. Willig’s
estimated effect of Kaiser discharge share on pass-through is relatively small for the two plan-
business lines (Anthem individual and small group) where he found a statistically significant
effect. For example, Dr. Willig’s estimates indicate that a five percentage point increase in
Kaiser’s share is associated with a change in pass-through of about: (a))
                                                                      101 Such differences are quite small

both economically and statistically, in the sense that they are within the confidence intervals both
Dr. Willig and I estimate in our pass-through regressions.

         41.      Exhibit 5 displays Dr. Willig’s pass-through estimates for the Anthem small
group line of business.102 The light blue bars and dark blue bars display Dr. Willig’s estimated
pass-through rates using Kaiser’s RA-level discharge shares as of 2008 and 2016, respectively.
The light orange and dark orange lines display Kaiser’s share of discharges in that RA as of 2008
and 2016, respectively. The vertical gray lines display in the 95-percent confidence intervals.
Exhibit 5 shows that Dr. Willig’s pass-through estimates for all RAs and years shown are either:
(a) abovee       ppercent; or (b) have confidence intervals that contain
                                                                       n               ppercent. That is,




99
   Willig Supplemental Declaration, Table 5.
100
    Willig Deposition (February 25, 2020), pp. 188-191.
101
    See Chipty Workpapers. I use a five-percentage point change for this calculation because, for nearly all RAs, Dr.
Willig found that the change in Kaiser’s discharge share from 2008 to 2016 was less than five percentage points. See
Exhibit 4, above.
102
    Appendix F presents the same analysis
                                       y for Anthem individual line of business. That analysis shows Dr. Willig’s
pass-through estimates range fromm                            or all RAs in 2008 and 2016, and the confidence
interval for each estimate overlaps with the confidence intervals of all other pass-through estimates.




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regardless of Kaiser’s share, Anthem’s pass-through rate for its small group line of business is



           42.      Finally, I observe that Dr. Willig’s analysis does not control for Kaiser’s
enrollment (or commercial member) share or Kaiser costs. In his deposition, he admitted regret
for studying discharge share, not enrollment share. 103 Moreover, he previously said it was
necessary to control for Kaiser cost to ensure no “omitted variable bias.”104 By contrast, my
MLR analysis controls for Kaiser cost and Kaiser’s enrollment share.


                  Exhibit 5: Dr. Willig’s Table 5 RA-Level Pass-Through Estimates,
                 Calculated on a Dollar-Basis, for Anthem Small Group, 2008 and 2016




  Note: Pass-through on a dollars-basis is calculated by multiplying Dr. Willig’s percentage-basis pass-through
  estimates by the average ratio of premium dollars to all medical costs reported in the MLR Data for Anthem’s
  individual line of business.
  Sources: Willig Supplemental Declaration, Table 5 and backup production; and MLR Data.




103
      See Footnote 96.
104
      Willig Merits Report, Footnote 488.


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         43.     Despite these shortcomings, Dr. Willig’s Table 5 results, even on their face,
support my opinion that: (a) there are generally no systematic, significant differences in pass-
through rates across geographic areas where Class Health Plans face differing levels of
competition from Kaiser; and (b) where such differences do exist, they tend to be small and
support the notion that pass-through is higher when Kaiser’s share is higher. Finally, I note that
Dr. Willig finds that pass-through is, if anything,               iin Class RAs relative to non-Class RAs,
which supports the notion that my MLR Data pass-through analyses are conservative for the
purposes of calculating damages for the Class, because those analyses rely on data for the entire
state.

         C.      Documents Show Class Health Plans Have Abandoned Products that
                 Were Intended to Compete Against Kaiser

         44.     In my Supplemental Declaration, I explained that “[e]conomic theory gives no
clear prediction about how Class Health Plans’ pass-through rates will respond to the intensity of
competition from Kaiser.” 105 In particular, I explained that Class Health Plans may pass through
more of a cost increase when they face more-intense competition from Kaiser, if Class Health
Plans forgo attempting to sell to more price-sensitive customers when Kaiser has a stronger
presence. 106 I explained that this phenomenon is sometimes referred to as “market
segmentation.” 107 At my January 2020 deposition, I explained there is qualitative evidence from
this case, described in my Merits Report, that is consistent with this theory: 108

         “[H]ealth plans that had created certain products to really compete with Kaiser, and, in
         fact, require these products in order to compete with Kaiser, needed to contain costs . . .
         because Kaiser is generally lower priced. . . . I’ve seen examples of health plans abandon
         products, these products that were initially designed to compete with certain Kaiser




105
    Chipty Supplemental Declaration, ¶ 49 and Footnotes 78-79.
106
    Id.
107
    Chipty Supplemental Declaration, ¶ 49.
108
    Chipty Deposition (January 15, 2020), pp. 177-178; and Chipty Merits Report, ¶¶ 182-187.




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          products, because they couldn’t make money given the restrictions and the cost burden
          that they had to bear in order to -- to price the product.”

Further, I explained that the pattern of Class Health Plans dropping low-cost products in
response to competition from Kaiser would translate into higher pass-through. 109

          45.     Despite my explanation at deposition, Dr. Willig asserts in his report that “Dr.
Chipty does not cite to any qualitative evidence supporting this theory. In fact, her theory is
completely contradicted by facts.”110 Dr. Willig then attempts to provide examples showing that
Class Health Plans cut prices to compete with Kaiser: 111 remarkably, he relies upon
                                                                                   n
                                                                          As I explained in my
Merits Report:

      x




                        ” 112

      x   United’s Signature Value Alliance: “United has also attempted to market a Sutter-focused
          narrow network product called ‘SignatureValue’ in Northern California. Although the
          product is still available,,




109
    Chipty Deposition (January 15, 2020), pp. 181-182.
110
    Willig Supplemental Declaration, ¶ 69 (emphasis added).
111
    Willig Supplemental Declaration, ¶ 69 and Footnotes 98-100.
112
    Chipty Merits Report, ¶ 185 (footnotes omitted).




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                                      ”113

As these examples demonstrate,,                        aand
                                                          d          focused their efforts on their higher-
priced products that were not designed to compete with Kaiser. These examples provide
evidence that Class Health Plans struggle to compete with Kaiser in the Class RAs, and they are
consistent with the market segmentation theory.

         46.      Finally, Dr. Willig testified that he could not rule out the possibility that the
market segmentation theory is correct. 114 Further, both Dr. Willig and I estimate pass-through
rates that are either not statistically significantly related to Kaiser’s competitive strength or, to a
limited extent, increase where Kaiser has a greater presence. This latter result is also consistent
with the market segmentation theory.


V.       MLR Data Provide a Reliable Basis for Estimating Pass-Through Rates

         47.      Dr. Willig makes a combination of incorrect, exaggerated, and unsupported
arguments in an attempt to discredit the use of the MLR Data for estimating pass-through.
Specifically, he argues that my reasons for preferring the MLR Data are not based on
quantitative evidence.115 He argues that the MLR Data cannot be restricted to Class Members. 116




113
    Chipty Merits Report, ¶ 187 (footnotes omitted).
114
    Willig Deposition (February 25, 2020), pp. 177-179 (“Q: You previously opined, sir, that you believed that where
Kaiser had a greater presence, the class health plans would have had a lower pass-through rate; isn’t that right? A: . .
. [W]hat theory I found interesting or plausible . . . was the idea that if Kaiser has a bigger share . . . [Class Health
Plans] would have to be more delicate in passing [costs] through. . . . There is another version of that [theory] which
says that, yeah, for a certain level of Kaiser’s competitiveness . . . if [Class Health Plans’] cost rise, they are very
tight and they can’t really forego the pass-through because otherwise their costs are going to outrun their revenues. .
. . So between those two theories, I don’t know which would prevail at what levels of Kaiser’s competitiveness. . . .
And then there is the question of misspecification, maybe coming in with that sign due to misspecification for a
variety of reasons. So at this point I can’t say why it’s coming in that way.”)
115
    Willig Supplemental Declaration, ¶¶ 110-112.
116
    Willig Supplemental Declaration, ¶¶ 113-114.




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He also argues that the MLR Data do not allow for proper analysis of large claims. 117 As I
explain here, there are problems with each of Dr. Willig’s argument.

          A.      Reasons for Preferring MLR Data over Production Data

          48.     As I explained in my Supplemental Declaration, there are several advantages to
estimating pass-through rates using the MLR Data, relative to the Production Data. 118 The MLR
Data are constructed by the Class Health Plans in their ordinary course of business, from
transaction-level data like the transaction-level premium and claims databases produced in this
case. The data contain information on premiums paid and the total medical costs incurred for
members generating those premiums. These data cover substantially all Class Members, across
all Class Health Plans, in all lines of business, over an eight-year period, accounting for
approximately 70 percent of the damages period. In addition, the MLR Data report information
on Kaiser’s medical costs and health plan commercial enrollments (including Kaiser
enrollments) which allows me to test one of Dr. Willig’s theories regarding the impact of Kaiser
on the extent to which Class Health Plans pass through Sutter overcharges. 119

          49.     By contrast, there are important limitations in using the Production Data:

      x   The Production Data are not usable for the purpose of reliably estimating pass-
          through for Aetna, United, and
                                       d                      individual and large group. For Aetna
          across all lines of business, it was not possible to join cost and premium data. 120 For




117
    Willig Supplemental Declaration, ¶¶ 115-117.
118
    Chipty Supplemental Declaration, ¶¶ 57-58.
119
    Willig Merits Report, Footnote 488 (“[T]he pass-through rate estimated by Dr. Chipty’s regression is inflated
relative to the one that is pertinent for the purpose of assessing damages, to an extent that is more important the
stronger the competition from Kaiser to the unintegrated carriers. One way to mitigate this [omitted variable] bias
would be to include in the regression a separate variable that controls for the level of Kaiser’s costs, perhaps also
interacted with a measure of the competitive significance of Kaiser.”). It is noteworthy that Dr. Willig did not know
that the MLR data contained information on Kaiser costs. See Willig Deposition (February 25, 2020), p. 80 (“Q:
And does the MLR data provide information on Kaiser? A: I don’t know if Kaiser reports or not. Frankly. I don’t
know that. It’s certainly not in the data presented to CMS by a particular non-Kaiser carrier.”). Though, he seemed
to recall after his lunch break. Willig Deposition (February 25, 2020), pp. 130-1.
120
    Chipty Supplemental Declaration, Footnote 118.




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          United and
                   d                   it was not possible to assign premiums and costs to specific
          geographies. 121 Dr. Willig does not dispute these limitations with the Production
          Data. 122

      x   The Production Data report facilities costs that generally represent about half or less
          of all medical costs. 123 Dr. Willig does not dispute that the Production Data, in
          virtually all instances, does not provide information on total medical costs. 124 This
          information problem is even more severe forr                             aand
                                                                                      d                bbecause
          of their heavy reliance on capitation. 125 Dr. Willig acknowledges that the Production
          Data do not include capitation payments.126 Dr. Willig does not refute the
          proposition that if the Production Data are missing a substantial portion of medical




121
    Chipty Supplemental
                pp         Declaration, Footnote 118. For Blue Shield large group, it is possible to estimate pass-
through using  g           pproduced by Blue Shield, as I did in my Class Reply Report, Exhibit 8.
122
    Willig Deposition (February
                       (           25, 2020), pp.
                                               p 84-88;; and Willig Merits Report, Footnote 492 ((“Although  g data are
available on . . .             iindividuals, and
                                               d             llarge groups, these data lack
                                                                                          k
                                       ””).
123
    See, e.g., Appendix C (showing analysis of URRT data). The Health Care Cost Institute reports that for
individuals under 65 insured through their employer, facilities costs represent half or less of all medical costs. See
Health Care Cost Institute, “2017 Health Care Cost and Utilization Report,” available at
https://www healthcostinstitute.org/images/easyblog_articles/276/HCCI-2017-Health-Care-Cost-and-Utilization-
Report-02.12.19.pdf, site visited March 10, 2020.
124
    Willig Deposition (February 25, 2020), pp. 88-97. In this context, it is noteworthy that Sutter’s expert Mr. Travis
challenges my MLR analysis because it does not control for the ACA “insurance provider fee,” which is about two
to three percent of premiums. See Travis Rebuttal Declaration, ¶ 6 and Cigna, “Health Insurance Industry Fee Fact
Sheet,” 2018, available at https://www.cigna.com/assets/docs/about-cigna/informed-on-reform/health-insurance-
industry-fact-sheet.pdf, site visited February 27, 2020.
125
    Capitation refers to the practice by which a health plan sells the risk for its members’ cost of care to a risk
bearing organization. If a health plan sells its inpatient hospital risk for some members, the facilities costs paid on
behalf of those members for inpatient care would not be included in the Production Data. Dr. Willig claims wrongly
that I did not quantify the extent of capitation used by each of the Class Health Plans. (See Willig Supplemental
Declaration, ¶ 111.) This is simply not true: in my Supplemental Declaration, I quantified the degree to which Class
Health Plans used capitation for small groups. (See Chipty Supplemental Declaration, ¶ 42.) Appendix C shows: (a)
this information, which I previously presented, in a graphical form; (b) the degree to which Class Health Plans used
capitation for their individual lines of business; and (c) an analysis for small groups which shows that when
capitation increases, the facilities costs incurred by the health plans decreases.
126
    Willig Supplemental Declaration, ¶ 111 (explaining that “Dr. Chipty did not have any data on capitated products
in the production data”).




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         costs (because of capitation or any other reason), it would be problematic to use
         them to study pass-through.

         50.      For these reasons, I prefer the MLR Data to the Production Data for the
quantification of pass-through, and for computing damages. I could not have calculated pass-
through for each of the Class Health Plans, given the data limitations, using the Production Data.
I do, however, use the Production Data to “sanity check” my MLR Data analysis: the exercises I
conducted with the Production Data corroborate my findings based on the MLR Data. For the
reasons I explain next, Dr. Willig’s criticisms of the MLR Data are false and misleading.

         B.       The MLR Data Are Representative of Class Members

         51.      Dr. Willig and Mr. Travis challenge whether the California MLR data reflect the
experience of all Class Members because of CMS’s reporting requirement, requiring health plans
to file data in the state where a contract is “sitused.” 127 Specifically, Dr. Willig and Mr. Travis
claim that the MLR data may: (a) exclude some Californians that pay premiums on a plan that is
reported to CMS in a different state; and (b) include some non-Californians who pay premiums
on a plan that is reported to CMS in California. I note at the outset that neither Dr. Willig nor Mr.
Travis offers qualitative or quantitative evidence on the magnitude of the so-called problem on
which they focus. 128 I provide here both qualitative and quantitative evidence which
demonstrates that Dr. Willig’s and Mr. Travis’ concerns are exaggerated and misleading.




127
    CMS requires an insurance company that has issued a group health insurance plan to a single employer that has
employees in multiple states to report that plan’s MLR Data in the state where the contract is sitused. See 45 C.F.R §
158.120(b); and CMS, Medical Loss Ratio Annual Reporting Form Filing Instructions for the 2016 MLR Reporting
Year, p. 6, available at https://www.cms.gov/CCIIO/Resources/Forms-Reports-and-Other-
Resources/Downloads/2016-MLRForm-Instructions.pdf, site visited March 9, 2020.
128
    Willig Supplemental Declaration, ¶ 113; Travis Rebuttal Declaration, ¶¶ 10-11; and Travis Deposition (February
27 2020), p. 30 ( “Q: Now, I take it your opinion here, if I can summarize it, is that the data used by Dr. Chipty may
not be completely accurate with respect to the MLR data the she relies on for her pass-through analysis? A: Well, I
wouldn’t use the term ‘accurate.’ That makes it sound like the MLR data are erroneous or inaccurate. I believe my
opinion is stating that MLR data are perhaps inappropriate for this purpose….”) In fact, Mr. Travis conceded that the
alleged problem may be immaterial or nonexistent; see Travis Deposition (February 27 2020), p. 35 ( “Q: Did you or
your team make any investigation to determine whether, in fact, the data includes data from people who live out of
state and excludes data from people who live out of state and excludes the data from some people who live in the




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         52.      First, data from the DMHC and DOI enrollment files, maintained by the
California Health Care Foundation (“CHCF”), provide a direct quantification of the significance
of the situs issue. As explained by the CHCF, “A comparison of the MLR database and the
California Health Insurance Enrollment Database found that commercial market enrollment
totals from these two sources were within 5% of each other. Small differences in reporting
practices, including the MLR requirement to report enrollment based on where the contract is
based (‘sitused’) may account for some of these differences.”129 This statement makes clear that
the CHCF enrollment data are not based on where the contract is sitused. Further, by CHCF’s
own description, the situs concern raised by Dr. Willig (and Mr. Travis) is “small.” This fact by
itself indicates that Dr. Willig’s and Mr. Travis’s challenge is insignificant.

         53.      Second, it is my understanding that Section 1333 of the ACA legalized the
interstate sale of individual and small group health insurance, yet “[n]o state has yet taken
advantage of the option.”130 As a consequence, there are unlikely to be sales of individual line-
of-business health insurance products sitused outside of California to residents of California.
Similarly, there are unlikely to be sales of small group health products sitused outside of
California to employees who reside in California and whose employers are also located in
California, i.e. the population for which I calculate small group damages. In this context, it is
noteworthy that while it is theoretically possible for there to be multi-state small groups, the fact




state? A: Yeah, that’s the rub…….it does not allow you to do any analysis to determine if it’s material or immaterial
to nonexistent.) and p. 39 (“Q: The analysis of whether the data set is overinclusive, for the purpose that Dr. Chipty
is using it, because it includes data from out-of-state people and under inclusive because it excludes some people
from in state? … A: I have not done that analysis….”).
129
    California Health Care Foundation, “California Health Insurers Enrollment Database, Reporting by DMHC &
CDI, 2012-2016,” available at
https://www.chcf.org/wpcontent/uploads/2018/01/CaliforniaHealthInsurersEnrollmentDataPublished2018.zip, site
visited March 17, 2018 (produced as backup to the Chipty SJ Declaration), “Overview” tab.
130
    Blumberg, Linda, “Sales of Insurance across State Lines: ACA Protections and the Substantial Risks of
Eliminating Them,” Urban Institute, June 2016, available at
https://www.urban.org/sites/default/files/publication/81866/2000840-sales-of-insurance-across-state-lines.pdf, site
visited March 8, 2020. See also Marchica, John, “Interstate Insurance Sales: Wishful thinking, or A Viable Policy
Option?” Health Affairs Blog, January 18, 2017, available at
https://www healthaffairs.org/do/10.1377/hblog20170118.058360/full/, site visited March 9, 2020.




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that the average small group employs approximately eight individuals suggests it is unlikely. 131
Finally, for the large group line of business, largest employers tend to self-insure, and therefore
would be excluded from both the MLR data and the putative class. 132

          54.    Finally, I quantify the extent of cross-state enrollment using Production Data from
Health Net, which contain information on subscriber and (where appropriate) employer location
for each line of business:

      x




                                                           134


          55.    Although the Production Data indicate the presence of a small fraction non-
Californian membership, the level of out-of-state membership, to which Dr. Willig and Mr.
Travis dedicate entire sections of their reports without any evidence or analysis, is quite small.
Consistent with this fact, there are several published studies where healthcare researchers use the
California MLR data to study the California health insurance market. 135 Collectively, these facts




131
    Axene Declaration, ¶ 85.
132
    Kaiser Family Foundation, “2019 Employer Health Benefits Survey – Section 10 - Plan Funding”, available at
https://www kff.org/report-section/ehbs-2019-section-10-plan-funding/, site visited March 9, 2020.
133
    See Chipty Workpapers.
134
    See Chipty Workpapers.
135
    See, e.g., Callaghan, Sandra Renfro, Elizabeth Plummer, and William F. Wempe, “Health Insurer’s Claims and
Premiums Under the Affordable Care Act: Evidence on the Effects of Bright Line Regulations,” Journal of Risk and
Insurance, Vol. 87, No. 1, 2019, pp. 67-93; Abraham, Jean Marie, Drake Coleman, Jeffrey S. McCullough, and
Kosali Simon, “What drives insurer participation and premiums in the Federally-Facilitated Marketplace?”
International Journal of Health Economics and Management, Vol. 17, 2017, pp. 395-412; and Finocchio, Len and
Katrina Connolly, “Medical Loss Ratios for California’s Dental Insurance Plans: Assessing Consumer Value and
Policy Solutions,” Health Affairs, Vol. 37, No. 9, 2018, pp. 1517-1523. The fact that these studies draw conclusions




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demonstrate that Dr. Willig’s (and Mr. Travis’) concern that the MLR Data cannot be used
reliably to study pass-through of Californians is simply incorrect.

        C.       Dr. Willig’s Claim that the “MLR Data Do Not Allow for Proper
                 Analysis of Large Claims” Is Incorrect

        56.      Dr. Willig, relying on Mr. Travis’ analysis, claims that my pass-through analysis
using the MLR data is “likely overstated” because of how health plans pool large (or
catastrophic) claims statewide.136 There are several problems with Dr. Willig’s arguments:

    x   First, Dr. Willig appears to misunderstand how health plans pool large claims. He
        states that “large claim pooling is a process that spreads portions of high-cost claims
        across the entire state for Small Group and Individual, and across all Large Group
        entities in the Large Group market.” 137 That is wrong. Dr. Willig fails to understand
        that the large claim pooling process does not eliminate or spread medical costs; it is
        an analytical tool used by actuaries in assigning an appropriate expected cost of very
        large claims to premiums. 138 Thus, the large claim process may make an upward or
        downward adjustment to the per-member, per-month medical cost for a specific
        group, but it does not change the statewide total medical cost and, thus, does not
        impact the reliability of the MLR Data.

    x   Dr. Willig claims, without support, that failing to adjust for how health plans treat
        large claims will tend to overstate pass-through. In theory, the bias could go in either
        direction. For example, if premiums are based on expected costs that are lower than




about California using the California MLR Data is consistent with my finding that the impact of the CMS reporting
requirements is insignificant.
136
    Willig Supplemental Declaration, ¶¶ 115-117. Remarkably, Dr. Willig’s RA-level analysis of pass-through
ignores the issue of large (or catastrophic) claims. According to him, he would have had to adjust his analysis to
account for how he thinks health plans smooth large claims; yet, he did not.
137
    Willig Supplemental Declaration, ¶ 115.
138
    Axene Merits Rebuttal Declaration, ¶ 15 (“As described, Catastrophic Claims Pooling helps the actuary develop
premiums that reflect the true expected cost of insuring a group. It does not, as suggested by Mr. Travis and Ms.
Keller, transfer claims from one region to another. At deposition, Ms. Keller agreed that Catastrophic Claims
Pooling does not involve subsidization from high-cost regions to low-cost regions.”).


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          actual costs, a model that relates premiums to actual costs will tend to understate
          pass-through.

      x   Further, because my MLR analysis studies the relationship between statewide per-
          member, per-month medical costs and premiums, it properly accounts for large (or
          catastrophic) claims, even if it works as Dr. Willig describes.

          57.    Finally, Dr. Willig tries to turn a vice into a virtue by admitting that “Large claim
pooling is of particular importance to the analysis of pass-through because when large claims are
pooled state-wide, some of the effect of large claims at Sutter hospitals will be spread outside the
proposed class.”139 In other words, Dr. Willig confirms that Sutter’s anticompetitive conduct has
harmed millions of premium payers in Californian in addition to the members of the Class. 140

          D.     My MLR Analyses Are Corroborated by My Production Data
                 Analyses and Qualitative Evidence

          58.    My MLR analyses are corroborated with substantial other evidence, including
both quantitative and qualitative evidence. The quantitative evidence includes: (a) the analyses of
the Production Data set forth in my November 18, 2019 Supplemental Declaration on Class
Certification; (b) my original econometric analyses set forth in my June 21, 2018 and November
26, 2018 Declarations submitted in connection with Plaintiffs’ original class motion; (c) Dr.
Willig’s analyses of pass-through; and (d) the pass-through estimates derived from the
previously-referenced Ho and Lee study, examining relationship between hospital costs and
insurance premiums in Northern California. The qualitative evidence spans ordinary-course
documents and testimony from: (a) each of the Class Health Plans; (b) Sutter; and (c) actuaries.
All of these industry participants recognize that health plans set premiums to cover medical
costs, a basic fact which directly links premiums to costs.




139
  Willig Supplemental Declaration, ¶ 117.
140
  Travis Deposition (February 27, 2020), pp. 97–98 (“Q: Well, you’ve testified that these Sutter overcharges have
been spread across the state and are being absorbed by millions of other Californians; correct? … A: Yeah, the
charges are spread across the state. That’s what our model is assuming. Q: And by that it means that millions of
people across the state are paying those overcharges through premiums; correct? … A: I would suggest that that
could be the case.”).


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          59.    Each of these different approaches leads to the same conclusion: pass-through
rates in California (and in Northern California) are uniformly high and significant. The ability to
replicate the results using this rich variety of methods raises confidence in each method.

          E.     Dr. Willig’s Other Criticisms of the MLR Analysis are Distractions

          60.    Dr. Willig makes a handful of other arguments about my MLR analyses, none of
which are credible. For example, Dr. Willig criticizes my use of indicators identifying whether a
set of insurance products was regulated by the DMHC or the DOI as a proxy for HMO and PPO
product types. His criticism stems from his limited understanding about certain PPO plans that
were “grandfathered” into reporting “much of their insured PPO business to the DMHC, not the
DOI.” 141 The evidence contradicts Dr. Willig’s limited understanding:

      x   A systematic review of CHCF enrollment data from 2012 to 2016 indicates that the DOI
          does not regulate enrollment for any HMO products and that 80 percent of the enrollment
          regulated by the DMHC relates to HMO products. 142 The comparatively high proportion
          of HMO enrollment in DMHC versus DOI data is sufficient for the indicator variable to
          capture variation across these product types.

      x   Published literature on California health insurance markets confirms that other
          researchers frequently regard the DMHC as a regulator of HMO products, and the DOI as
          a regulator of traditional health insurance products, including PPOs. For example, the
          first paragraph of a CHCF publication entitled “Making Sense of Managed Care
          Regulation in California” states the following: “In California, regulation and oversight of
          health insurance is split between two state departments. The new Department of Managed
          Health Care (DMHC) primarily regulates health maintenance organizations (HMOs),
          while the California Department of Insurance (CDI) has jurisdiction over traditional




141
  Willig Supplemental Declaration, ¶ 94.
142
  See Chipty Workpapers. The CHCF enrollment data were previously relied upon for my May 26, 2018
Declaration in Opposition to Motion for Summary Judgment.




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        health insurance.”143 In a paper published in the American Economic Review, authors
        Kate Ho and Ariel Pakes describe the DMHC as a regulator of “all Knox Keene plans
        (essentially the same as HMOs) in California.” 144

Had Dr. Willig reviewed the available enrollment data or the literature regarding regulation of
health insurance products in California, he might have realized that it is commonly known in
California that each regulator specializes in the regulation of different products and that the
usage of the plan indicator variable is a reasonable proxy for determining product type.


VI.     Dr. Willig’s Employer-Employee Split Arguments Are Incorrect and Misleading

        61.      In my Class Reply Declaration, I explained that it would be reasonable to allocate
damages proportionately between employers and employees, based on their respective share of
the premium burden. Initially, Dr. Willig described the employer-employee split as a “pass-
through” relationship.145 I explained that employers do not resell insurance to their employees,
and therefore do not “pass through” Sutter overcharges to employees.146 Rather, employers and
employees jointly pay for and consume health insurance. Under these circumstances, the
employer and employee are both end-payors that each pay a share of the premium. As a result,
each pays for a share of the Sutter overcharge that was passed through by the Class Health Plans
to that premium. It appears Dr. Willig has retracted his description of the employ-employee
relationship being a “pass-through” relationship, saying that “employee-employer split does not
depend on whether one labels the determination of the split ‘pass-through’.” 147




143
    Roth, Debra L., and Deborah Reidy Kelch, “Making Sense of Managed Care Regulation in California,”
California HealthCare Foundation Report, November 2001, available at https://www.chcf.org/wp-
content/uploads/2017/12/PDF-MakingSenseManagedCareRegulation.pdf, site visited March 9, 2020, p. 5.
144
    Ho, Kate and Ariel Pakes, “Hospital Choices, Hospital Prices, and Financial Incentives to Physicians,” American
Economic Review, Vol. 104, No. 12, 2014, pp. 3841-884, at 3849.
145
    Willig Declaration, ¶ 29.
146
    Chipty Reply Declaration, ¶¶ 45-46.
147
    Willig Supplemental Declaration, ¶ 97.




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          62.    Dr. Willig falls back to insist that, while employers and employees split the
premium, there is no guarantee that they would split the change in premiums caused by the
challenged conduct in the same way.148 Dr. Willig continues to miss the point. Consider an
insurance premium of $600, $500 of which goes to medical expenses and $100 of which goes to
administration. The employer pays a fixed contribution of $500 and the employee pays the
balance of $100. In this case, the employer-employee split is 83.3 percent-16.7 percent. If it was
determined that $10 of the $600 premium was an overcharge due to Sutter’s conduct, the $10
could be split 83.3 percent-16.7 percent, between the employer and the employee, respectively.
Dr. Willig seems to suggest that the $10 would be split different from the $590, because the $10
represents a different element of the cost. When asked about exactly this hypothetical scenario at
deposition, Mr. Travis said that “every element of cost” would be split the same way. 149 He went
on to say “I do not know of a single employer that would look at their premium in that manner. I
think that’s a somewhat arbitrary situation. I mean, employers are looking at total cost of the
plan. And they’re not looking at what the individual components are and establishing their
subsidy or establishing the employee’s contribution based upon some split within the total cost of
the plan.” 150

          63.    As I explained in my Class reply declaration, a proportional split of the damages
provides reasonable estimate of damages for each of the payors that jointly pay a premium. In
my previous report, I presented:

      x   Mathematical derivations that demonstrated that under a wide variety of scenarios, a
          proportional split correctly allocates damages between employers and employees that
          jointly pay a premium. 151




148
    Willig Supplemental Declaration, ¶ 98.
149
    Travis Deposition (October 23, 2018), pp. 169-170.
150
    Id.
151
    Chipty Reply Declaration, ¶¶ 47-50.




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      x   Descriptive analyses of Kaiser Family Foundation (“KFF”) data, upon which Sutter’s
          experts in this proceeding initially relied, demonstrating that the average premium split
          between employers and employees has remained relatively stable over time, 152 despite
          the fact that average monthly premiums have increased substantially.153 This analysis
          suggests that employers tend not to hold their employees’ dollar contribution fixed.

      x   Regression analysis of KFF data that showed the average share of the premium bill paid
          by the employee remains unchanged for changes in premium below five percent.154
          Given the magnitude of the estimated premium overcharges, I explained that the
          regression results suggest that the employee share of the total premium bill is unlikely to
          change in response to premium increases caused by the Sutter overcharges. 155 This
          analysis demonstrates that, in the but-for world absent a Sutter overcharge, both the
          employer and employee would have paid lesser amounts, regardless of how their
          premiums were split in the actual world or whether those amounts were tied to a non-
          Sutter plan.

      x   Qualitative evidence, including survey evidence, suggesting that employers are unlikely
          to require employees to pay all premium increases.156

          64.     To defend his position, Dr. Willig has revived some of his old arguments. He has
also presented new arguments about cross-sectional variation and temporal variation in the
employer-employee split. 157 Further, he claims that it is likely impossible to determine the level




152
    Chipty Reply Declaration, Exhibit 3.
153
    Chipty Reply Declaration, Exhibit 4.
154
    Chipty Reply Declaration, Exhibit 5.
155
    Chipty Reply Declaration, ¶ 57. About this inference, Dr. Willig says, “Dr. Chipty’s conclusory statement that it
is unlikely that employers would change their benefit design because the premium impact of any Sutter overcharge
likely would be small is unsupported.” (Willig Supplemental Declaration, ¶ 98.) It appears Dr. Willig did not notice
my regression model and associated results, which support my conclusion.
156
    Chipty Reply Declaration, ¶¶ 58-59.
157
    Willig Supplemental Declaration, ¶¶ 104-109.




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of employer/employee split for several of the named plaintiffs. 158 I respond to all of Dr. Willig’s
arguments here.

          A.      Dr. Willig’s Rejection of the Proportional Split in Certain Scenarios
                  Is Flawed

          65.     Dr. Willig appears to concede that a proportional split (or what he calls the
contribution split) of damages would be reasonable if the employer-employee sharing of the
premium were done on a percentage basis: e.g., the employer pays a certain percentage of the
premium and the employee pays the balance.159 His remaining disagreement appears to be in
situations where the employer contribution was fixed to some amount, either an absolute amount
or an amount pegged to another plan (like Kaiser) that excludes Sutter. Specifically, Dr. Willig
describes four scenarios: 160

      x   Scenario 1: “Employers whose benefit design keeps an employee’s contribution
          fixed would effectively cause the employee to pay no amount of any cost change.”

      x   Scenario 2: “Employers whose benefit design keeps their own contribution fixed
          would effectively cause the employer to pay no amount of any cost change.”

      x   Scenario 3: “Employers who set employee contributions to be the same whether or
          not the plan includes Sutter may cause the employee to pay no amount of any cost
          change.”

      x   Scenario 4: “Employers who use the premiums of Kaiser or another plan that
          excludes Sutter to set the relative contribution amount may cause either the employer
          or the employee to pay any cost difference for plans that include Sutter.”

          66.     Dr. Willig places an inappropriate emphasis on the structure of the employer’s
subsidy of employee health insurance. He ignores the fact that employers set the subsidy




158
    Willig Supplemental Declaration, ¶¶ 101-103.
159
    Willig Supplemental Declaration, ¶ 103 (“Dr. Chipty’s suggested approach fails to account for those situations in
which the contribution split was not done on a percentage basis but in which the contribution of one side or the other
was fixed.”)
160
    Willig Supplemental Declaration, ¶ 98.


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knowing the cost consequences, for themselves and their employees. For example, a fixed
contribution of $500 may make sense when premiums are $600, but the same “fixed”
contribution may not make sense if premiums are $590. An employer that does not change its
“fixed” contribution when costs decline has made a decision to offer greater benefits; similarly,
an employer that does not change its “fixed” contribution when costs increase has also made a
decision to offer less generous benefits. In either case (i.e. whether there is or is not a change in
contribution), the employer subsidy could appear to the outsider to be “fixed,” when in fact it
is not. Further, the employer’s decision is not disconnected from business needs of
simultaneously managing costs, competing for employees, and ensuring a productive
workforce. 161 I discussed some of these considerations in my Class Reply Report. 162

        67.       In this context, I observe that Mr. Travis endorsed a proportional split of
damages based on the employer-employee split in each of these scenarios, irrespective of the
structure of the subsidy. 163 In situations where the employee contribution is held constant,
from one-year to the next in the face of rising premiums, the employee would receive a smaller
share of the damage amount, because the employer pays a higher share of the premium. In
situations where the employer contribution is held constant, from one-year to the next in the
face of rising premiums, the employer would receive a smaller share of the damage amount,
because the employee pays a higher share of the premium. This dynamic is illustrated in Exhibit
6, which considers a situation in which premiums increase from $600 to $700 from one-year to
the next. The left panel describes a situation where the employee contribution is fixed at $100: (a) in
year one, the employer would receive 83 percent of the damage amount; and (b) in year two,
the employer would receive 86 percent of the damage amount. The right panel describes a
situation


161
    The empirical evidence shows that Dr. Willig’s “fixed” contribution scenario is unlikely. However, even
assuming it were true, it still does not prove that there is no harm to either the employer or employee. Consider for
example Dr. Willig’s example in which: (a) the employee pays $20 towards health insurance in the actual and but-
for worlds; and (b) the employer pays $80 towards health insurance in the actual world, and it would have paid $70
in the but-for world. (See Willig Supplemental Declaration, ¶ 103.) According to Dr. Willig, the employee could not
be harmed because she pays $20 either way. Dr. Willig forgets that the employer decided to pay $80 towards an
employee benefit in the actual world, suggesting that the employer might enhance some other employee benefit (or
salary) with the $10 savings per employee on health insurance that it would have enjoyed in the but-for world. Thus,
even in Dr. Willig’s hypothetical scenario, the employee is harmed.
162
    Chipty Class Reply Report, ¶¶ 58-59.
163
    Travis Deposition (October 23, 2018), pp. 169-170.


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where the employer contribution is fixed at $500: (a) in year one, the employer would receive 83
percent of the damage amount; and (b) in year two, the employer would receive 71 percent of the
damage amount. As seen here, the proportional split would increase and decrease the damage
award based on the relative burden of the premium, and thus premium overcharge.


              Exhibit 6: Illustrative Examples of Premium-Sharing Arrangements
                                  in the Face of Rising Premiums




        68.      There are additional problems with Dr. Willig’s analysis of his Scenarios 2 and 4,
which involve fixing contributions or pegging the subsidy to a Kaiser plan or a plan that does not
include Sutter. For example, Dr. Willig assumes that employers that “peg” their subsidy of a
non-Kaiser plan to a Kaiser plan would have kept the same percent “peg” unchanged absent
Sutter’s overcharge. 164 The evidence indicates that is unlikely, given my empirical work showing
that on average the employer-employee share of the premium bill has remained stable over the
years. Employers can choose to peg their subsidy for non-Kaiser plans to be anywhere between
50 percent and 100 percent of the Kaiser plan premium. 165 Thus, contrary to Dr. Willig, pegging
to Kaiser is not a binary decision: it is entirely plausible that an employer that chose to peg non-




164
  Willig Supplemental Declaration, ¶ 98.
165
  Declaration of Steven Nyugh, Senior Vice President of Operations at Choice Administrators Insurance Services,
Djeneba Sidibe, et al., v. Sutter Health, 3:12-CV-4854-LB, October 15, 2018, p. 2.


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Kaiser subsidies to Kaiser would have chosen a smaller subsidy (expressed as a lesser percent of
Kaiser plan premium) in the but-for world.

           69.      Furthermore, implicit in Dr. Willig’s argument is the presumption that those
premiums (associated with plans that do not include Sutter) would be unaffected by Sutter’s
conduct and thus, employers paying those premiums could not have been harmed by Sutter’s
conduct. However, as I have explained, there is evidence of an “umbrella effect” through which
Sutter’s high prices have allowed other providers to raise their prices. 166 There is also evidence
that Sutter’s conduct impeded the competition between Kaiser and the Class Health Plans, that
would have otherwise taken place. 167

           70.      Even under Dr. Willig’s unsupported theory, Class Members would be harmed if
at any point in the damages period, their (dollar) contribution increased in the face of Sutter
overcharges: thus, only Class Members that never experienced a change in their contribution
toward premiums over the eleven-year (to date) damages period would arguably not be harmed.
To my knowledge, Dr. Willig has not identified any employer or employee Class Member that,
throughout the damages period, experienced no change in their contribution, let alone quantified
how many of them there might be. Accordingly, at most Dr. Willig must be arguing that there
may be some Class Members who may not have been injured in certain years for some subset of
the eleven-year (to date) damages period. My KFF descriptive analysis shows that the average
share of the premium bill paid by employees has been relatively stable for long periods of time
(see Exhibit 3 of my Class Reply Report, reproduced below as Exhibit 7); and my KFF
regression analysis shows that the average share of the premium bill paid by the employee is not
likely to change—or in other words, there will likely be an increase in contribution—in response
to Sutter’s overcharges (see Exhibit 5 of my Class Reply Report).




166
      Chipty Class Reply Report, ¶ 111.
167
      Chipty Merits Report, ¶¶ 52, 131.




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        71.      Finally, setting aside all of the problems with his unsupported theory, Dr. Willig’s
suggestion that there are “likely thousands of potential class member-employers who shift any
Sutter overcharge that exists onto their employees” is exaggerated.168 By my calculation,
employers account for less than four percent of the all Class Members; and employers that adopt
subsidy structures like those described in Dr. Willig’s Scenarios 2 and 4 would account for a
substantially smaller subset of the four percent.169 Accordingly, even under Dr. Willig’s theory,
there could be at most a de minimis number of Class Members (employers) that would have
shifted their burden of the overcharge to employees. Either way, the proportional split would
compensate the employees of those employers.

        B.       Dr. Willig’s Arguments about Cross-Sectional Variation in the
                 Employer-Employee Split Are Completely Irrelevant

        72.      Dr. Willig goes on for many paragraphs explaining the different ways in which
employees’ share of premium costs can vary. For example, he describes differences based on
firm size, type of coverage (e.g., individual or family), average worker salary, and employee
demographics. 170 To be clear, I have never argued that there are no differences across
employees; for example, Exhibit 3 of my Class Reply Declaration shows a difference in the
average employee share of premium costs for single versus family coverage. The presence of
these differences is irrelevant from the perspective of whether Class Members incurred any harm
and the aggregate amount of damage caused by Sutter’s conduct.

        C.       Dr. Willig’s Arguments about Temporal Variation in the Employer-
                 Employee Split Are Exaggerated

        73.      In my Class Reply Report, I explained that the employer-employee split has been
stable over time, based on an analysis of the average percent of premiums paid by covered
workers for single and family coverage over a 19-year period, from 1999 to 2017. For
convenience, Exhibit 3 of my Class Reply Report is repeated here as Exhibit 7. As seen here,




168
    Willig Supplemental Declaration, ¶ 99.
169
    See Chipty Workpapers.
170
    Willig Supplemental Declaration, ¶ 106.


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from 2008 to 2017, the employee share ranged from 27 percent to 31 percent for family coverage
and it ranged from 16 percent to 19 percent for single coverage.

                 Exhibit 7: Reproduction of Chipty Reply Declaration Exhibit 3
         Average Percentage of Premium Paid by Covered Workers for Single and Family
                                    Coverage, 1999-2017




       Note: Average percentage premium paid reported by employers weighted by employer’s number of covered
       workers.
       Source: Kaiser Family Foundation Employer Health Benefits Annual Survey data, 1999-2017.


           74.      By contrast, Dr. Willig says that the average percentage of the employer-
employee split has changed over the class period. He explains that “[a]lthough premiums for
family coverage have increased by an average of 61 percent from 2005 to 2015, employee
contributions for family coverage have increased on average by 83 percent.”171 Dr. Willig’s
reported percentage changes are misleading. The actual changes are not nearly as large has he
suggests: the changes in employee share are much smaller (3.5 percentage points or 14 percent),
as shown in Exhibit 7 above.




171
      Willig Supplemental Declaration, ¶ 106 (emphasis added).




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          D.     Dr. Willig’s View that Determining the Employer-Employee Split for
                 the Named Plaintiffs Is “Likely Impossible” Is Untrue

          75.    Dr. Willig argues that “determining the level of employer/employee split is likely
impossible for three of the named plaintiffs.”172 I note at the outset that neither I nor Dr. Willig
are class administrators. Nonetheless, I respond to Dr. Willig’s contentions regarding
administration because he relies on facts that are incorrect. A closer look at the evidence he cites
shows that he has cherry-picked portions of the named Plaintiffs’ deposition testimony:

      x   Dr. Willig says that Ms. Feeney of Johnson Pool and Spa testified that “Johnson
          Pools and Spa’s records have gaps and that she can’t tell from insurer invoices how
          much the employer paid.”173 However, later in the same deposition, Ms. Feeney
          testified that her company has “everything [they’ve] ever done around health
          insurance…from 1994 to current.”174 Johnson Pool & Spa provided records on this
          motion identifying the premiums that they paid.

      x   Dr. Willig says that Susan MacAusland of Optimum Graphics “testified that she
          does not issue paystubs every month and there is no document that reflects the
          amount withheld from her employees and could not explain why there were gaps in
          the records and she admitted that the records may not be accurate.”175 However,
          elsewhere in her deposition, Ms. MacAusland said that payroll is maintained on
          Quickbooks and that she produced “everything that I had” from 2008 to 2017.176
          Optimum Graphics provided records on this motion concerning the premiums that
          they paid.




172
    Willig Supplemental Report, ¶ 101 and Footnote 161.
173
    Willig Supplemental Declaration, Footnote 161.
174
    Deposition of Tina Feeney, Co-Owner of Johnson Pool & Spa, August 24, 2018, p. 48.
175
    Willig Supplemental Declaration, Footnote 161.
176
    Deposition of Susan MacAusland, Co-Owner of Optimum Graphics, Inc., August 22, 2018, pp. 38-39.




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       x   Dr. Willig says Jerry Jankowski testified that “for many years he cannot tell from the
           documents produced what was related to medical premiums, versus what was
           deducted for visual and dental coverage.” 177 However, later in the same deposition,
           Mr. Jankowski goes on to say that it could be cross-checked from the record. 178 Mr.
           Jankowski provided records on this motion identifying the premiums that he paid.

           76.      Appendix D shows exemplar records for each of the named Plaintiffs. For
example, plaintiff Djeneba Sidibe produced earning statements showing that she paid $25.38
from January 9, 2013 to January 23, 2013 towards health insurance. A companion document
describes Ms. Sidibe’s benefit package and shows that her employer-employee split during this
period was 90 percent and 10 percent, respectively.


VII.       Conclusions

           77.      Based on the analyses presented in this report, it remains my opinion that: (a)
Class Members have suffered common impact due to Sutter’s elevated prices at the Sutter
Damage Hospitals; and (b) a common method exists to reasonably approximate aggregate and
individual Class Member damages. To calculate aggregate damages using my baseline
methodology, I first identified payments (and payments per member per month) made by all five
Class Health Plans to the Sutter Damage Hospitals. I then applied my econometric estimates of
overcharge, that vary by Class Health Plan, to compute overpayments made by the Class Health
Plans to Sutter. Finally, I applied my weighed average pass-through estimate of 97.16 percent to
calculate the portion of those overpayments that were passed through to Class Members in the
form of higher premiums. My baseline calculation yields aggregate damages of $489 million. As
an alternative, I have also calculated aggregate damages by applying a weighted average pass-
through rate, by weighting a pass-through rate by line-of-business, by Class Health Plan, as
preferred by Dr. Willig. Exhibit 8 shows these different estimates graphically: the blue bar shows
my baseline damage estimate, and the green and orange bars show the alternative damage
estimate with and without capping pass-through at 100 percent, respectively. As seen here, my




177
      Willig Supplemental Declaration, Footnote 161.
178
      Deposition of Jerry Jankowski, March 9, 2018, pp. 182-184, 204-205, and 207-209.See also, Appendix D.


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baseline estimate (blue bar) is within 0.1 percent of the green bar, and it is substantially below
the orange bar.


                       Exhibit 8: Damage Estimates: Based on In-Sample Overcharges Estimates
                      $700,000,000




                      $600,000,000




                      $500,000,000




                      $400,000,000
   Damages Estimate




                                                                                 Baseline, Using 97.16% Pass-Through

                                                                                 Damages, Using Pass-Through by Plan and
                                                                                 LOB: Capped at 100%
                      $300,000,000                                               Damages, Using Pass-Through by Plan and
                                                                                 LOB: Not Capped


                      $200,000,000




                      $100,000,000




                               $0


                 Sources: Anthem, Blue Shield, Health Net, Aetna, and United Claims and Premium Data; U.S. Census Bureau
                 Zip Code and County Data; The Center for Consumer Information & Insurance Oversight: California
                 Geographic RAs; and MLR Data, 2011-2018.


Moreover, my damage methodology is conservative for many other reasons. For example: (a)
benchmark prices would have been lower in the but-for world; (b) my analysis did not consider
Sutter’s elevated out-of-network charges; (c) my analysis did not apply a trend factor; and (d) my
analysis did not consider claims for mental health and substance abuse. In a prior report, I
demonstrated that incorporating trend factors alone would have increased my damage estimates
by about $75 million.


                                                             ________________________________
                                                             ____ ___ ________
                                                                             _________
                                                                                     __ ___
                                                                                         _ ___
                                                                                             __
                                                             Tasneem Chipty, Ph.D.
                                                                     Chipty Ph  D
                                                             March 12, 2020


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                                                                               TASNEEM CHIPTY
                                                                                Managing Principal

                                        Appendix A: CV
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Dr. Chipty is an expert in industrial organization, antitrust economics, and econometrics. She
works with both private parties and government agencies in antitrust litigation and merger
review. Her work spans a broad array of sectors, including: agricultural equipment; airlines;
broadcast and satellite radio; cable and satellite television; credit cards; containerized shipping;
healthcare; modem chips; newspapers; pharmaceuticals; telecommunications; and tobacco. Her
work has been influential both internationally and domestically. For example, she was the
Department of Justice’s antitrust expert in the federal lawsuit challenging Atrium Health’s use of
anti-steering restrictions in contracts with health plans. She was an expert for the Government of
Australia, at the World Trade Organization, in a series of disputes surrounding Australia’s
national tobacco control policy. She was Comcast’s antitrust damages expert in Behrend et al. vs.
Comcast—a U.S. Supreme Court case in which the Court decertified the class because of
deficiencies in the plaintiffs’ damages model. She was one of Qualcomm’s antitrust experts in a
series of lawsuits challenging Qualcomm’s licensing practices. Currently, she is an antitrust
expert in one of several lawsuits against Sutter Healthcare, challenging Sutter’s use of anti-
steering provisions in contracts with health plans. Dr. Chipty has submitted testimony, been
deposed, and testified at trial in several litigation matters. She has appeared before the Federal
Trade Commission, the Department of Justice, the World Trade Organization, the Canadian
Mergers Bureau, the Canadian Radio-television and Telecommunications Commission, the U.S.
Copyright Board, and the Canadian Copyright Board. She is the co-editor of the current edition
of the American Bar Association’s book Proving Antitrust Damages. She has published research
on the strategic use of vertical integration, the role of firm size and network effects on bilateral
business negotiations, and the effects of regulations on firm behavior.
Prior to founding Matrix Economics, Dr. Chipty was a Managing Principal at Analysis Group,
and before that a Vice President at Charles River Associates. She has served on the faculties of
the Ohio State University, Brandeis University, and MIT, where she taught courses in antitrust
and regulation, industrial organization, and econometrics. Dr. Chipty received her Ph.D. in
economics from the Massachusetts Institute of Technology and her undergraduate degree in
economics and mathematics from Wellesley College.

EDUCATION
Ph.D.          Economics, Massachusetts Institute of Technology
B.A.           Mathematics and Economics, with honors, Wellesley College




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                                                                   Tasneem Chipty, Page 2 of 11


PROFESSIONAL EXPERIENCE
2016 –         Matrix Economics, LLC
               Founder and Managing Principal
2010 – 2016 Analysis Group, Inc.
            Managing Principal (2010-2016)
1999 – 2010 Charles River Associates, Inc.
            Vice President (2005-2010)
2005           Massachusetts Institute of Technology
               Visiting Associate Professor of Economics
1997 – 1999 Brandeis University, Graduate School of International Economics and Finance
            Visiting Assistant Professor of Economics
1995           Osaka University
               Visiting Foreign Scholar
1993 – 1999 Ohio State University
            Assistant Professor of Economics

TESTIMONY EXPERIENCE
   Djeneba Sidibe et al. v. Sutter Health, Case No. 3: 12-cv-4854-LB, in United States District
    Court for the Northern District of California. On behalf of the Djeneba Sidibe et al.,
    submitted testimony on May 26, 2018, June 22, 2018, November 26, 2018, April 22, 2019,
    April 30, 2019, August 1, 2019, November 18, 2019; and testified at deposition on August
    15, 2018, August 16, 2018, December 20, 2018, June 11, 2019, and January 15, 2020.
    Constantine Cannon (Matthew Cantor and Jean Kim).
   Federal Trade Commission vs. Qualcomm Incorporated, Case No. 17-CV-00220-LHK, in
    United States District Court for the Northern District of California. On behalf of Qualcomm,
    submitted testimony on June 28, 2018; testified at deposition on August 10, 2018; and
    testified at trial on January 22, 2019. Cravath Swaine and Moore (Gary Bornstein and
    Yonatan Even).
   In Re: Qualcomm Litigation, Case No. 17-cv-00108-GPC-MDD, in United States District
    Court for the Southern District of California. On behalf of Qualcomm, submitted testimony
    on June 29, 2018 and October 2, 2018; and testified at deposition on October 10, 2018.
    Cravath Swaine and Moore (Gary Bornstein and Yonatan Even).
   In Re: Qualcomm Antitrust Litigation, Case No. 17-MD-02773-LHK, in United States
    District Court for the Northern District of California. On behalf of Qualcomm, submitted
    testimony on November 16, 2018; and testified at deposition on December 14, 2018. Keker,
    Van Nest & Peters LLP (Eugene Paige and Justina Sessions).
   United States of America and the State of North Carolina vs. The Charlotte-Mecklenburg
    Hospital Authority, d/b/a Carolinas Healthcare System, in the Western District of North
    Carolina, Charlotte Division, Case No. 3:16-cv-00311-RJC-DCK. On behalf of the United
    States of America, submitted testimony on August 10, 2018. U.S. Department of Justice
    (Andy Ewalt and Beth Armington).


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   United States of America v. Deere & Company, Precision Planting LLC, and Monsanto
    Company, Civil Action No. 1:16-cv-08515, in the United States District Court for the
    Northern District of Illinois Eastern Division. On behalf of the United States, submitted
    testimony on December 23, 2016 and January 10, 2017; and testified at deposition on March
    2, 2017. U.S. Department of Justice (Norm Familant and Bill Jones).
   United States of America, et al. v. Hillsdale Community Health Center, et. al., Case No. 5:15-
    cv-12311-JEL-DRG in the United States District Court for the Eastern District of Michigan.
    On behalf of the United States, submitted testimony on October 27, 2016 and December 5,
    2016; and testified at deposition on December 12, 2016. U.S. Department of Justice (Beth
    Armington and Katrina Rouse).
   In the Matter of: Statement of Proposed Royalties to be Collected for the Retransmission of
    Distant Television Signals, In Canada, for the Years 2014 to 2018, before the Canadian
    Copyright Board. On behalf of Bell Canada, Cogeco Cable Inc., Rogers Communications
    Inc, Shaw Communications Inc., Videotron G.P., and Telus Communications Company,
    submitted testimony on October 2, 2015 and testified at trial on January 25-26, 2016. Fasken
    Martineau DuMoulin, LLP (Jay Kerr-Wilson).
   Challenges to Australia’s Tobacco Plain Packaging Act, on behalf of Australia, in the World
    Trade Organization. Submitted testimony on March 9, 2015, May 31, 2015, September 14,
    2015, October 26, 2015, December 8, 2015, and February 1, 2016. Australian Government
    Solicitor (Simon Sherwood and Damien O’Donovan).
   Caroline Behrend et al. v. Comcast Corporation et al., Civil Action No. 03-6604 in the
    United States District Court for the Eastern District of Pennsylvania. On behalf of Comcast
    Corporation, submitted testimony on April 10, 2009, on May 6, 2009, on May 11, 2009, on
    August 21, 2009, September 18, 2009, May 22, 2012, and January 15, 2014; testified at
    deposition on May 22, 2009; and testified at a class recertification hearing on October 26,
    2009. Kasowitz Benson Torres & Freidman (Michael Shuster and Sheron Korpus) and Davis
    Polk (David Toscano and Arthur Burke).
   American Broadcasting Company Inc., et. al. v. Aereo, 12 Civ. 1543, in United States
    District Court in the Southern District of New York. On behalf of Aereo, submitted
    testimony on December 20, 2013. Fish and Richardson (David Hosp).
   DISH Network LLC. f/k/a Echostar Satellite LLC v. ESPN, Inc., and ESPN Classic, Inc., No.
    09 CIV 6875 (JGK) (FM), in United States District Court in the Southern District of New
    York. On behalf of DISH Network, submitted testimony on July 29, 2011; testified at
    deposition on November 22, 2011; testified at deposition in January 2013; testified at trial
    February 2013. Flemming Zulack Williamson Zauderer LLP (Dean Nyciper) and Simpson
    Thatcher (Barry Ostrager and Mary Kay Vyskocil).
   Echostar Satellite LLC v. ESPN, Inc., ESPN Classic, Inc., ABC Cable Networks Group, Inc.,
    Soapnet L.L.C., and International Family Entertainment Inc., Index 08-600282 in the
    Supreme Court of the State of New York County of New York. On behalf of Echostar
    Satellite LLC, testified at deposition on June 23, 2011. Flemming Zulack Williamson
    Zauderer LLP (Dean Nyciper).
   Casitas Municipal Water District v. United States, Case No. 05-168L in the United States
    Court of Federal Claims. On behalf of the United States, submitted testimony on February


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    25, 2010 and February 8, 2007, testified at deposition on March 10, 2010, testified at trial on
    October 28, 2010. U.S. Justice Department (James Gette and Barrett Atwood).
   Royalties To Be Collected By CSI and SOCAN For the Reproduction and the Communication
    to the Public by Online Music Services, In Canada, of Musical or Dramaticaomusical Works,
    for the years 2007 to 2010, before the Canadian Copyright Board. On behalf of Apple Inc.,
    Bell Canada Enterprises Inc., Rogers Communications Inc., Telus Communications
    Company, and Videotron Ltd., submitted testimony on April 29, 2010 and on June 9, 2010,
    and testified at trial on June 28-9, 2010. Goodmans LLP for Apple Inc. (Michael Koch); and
    Fasken Martineau DuMoulin, LLP for the rest (Jay Kerr-Wilson).
   United States of America v. Daily Gazette Company and MediaNews Group, Inc., Civil
    Action No. 2:07-0329 in the United States District Court Southern District of West Virginia.
    On behalf of the United States of America, submitted testimony on September 1, 2009. U.S.
    Justice Department (John Reed, Mark Merva and Norm Familant).
   In re. ASARCO LLC, et al., Case No. 05-21207 in the United States Bankruptcy Court for the
    Southern District of Texas, Corpus Christi Division. On behalf of Ready Mix USA, LLC.,
    submitted testimony on August 1, 2008 and testified at deposition on August 7, 2008. Baker,
    Donelson, Bearman, Caldwell & Berkowitz P.C. (Gary Shockley).
   SOCAN Tariff No. 16 – Royalties To Be Collected By SOCAN For the Public Performance or
    the Communication to the Public by Telecommunication, In Canada, of Musical or
    Dramaticaomusical Works, for the years 2007 to 2009, before the Canadian Copyright
    Board. On behalf of a consortium of Canadian background music users, including Bell
    ExpressVu, Chum Satellite Services, and DMX Canada, submitted testimony on November
    30, 2007 and testified at trial in January 2008. Fasken Martineau DuMoulin, LLP (Jay Kerr-
    Wilson and Aidan O’Neill).
   In the Matter of Digital Performance Right in Sound Recordings and Ephemeral Recordings
    for a New Subscription Service, CRB Proceeding 2005-5, before the U.S. Copyright Board.
    On behalf of Sirius Satellite Radio and XM Satellite Radio, submitted testimony on October
    30, 2006 and July 24, 2007; testified at deposition on May 8, 2007; and testified at trial in
    June 2007. Wiley Rein, LLP for Sirius (Bruce Joseph) and Weil, Gotshal & Manges for XM
    (Ralph Miller).

MERGERS AND ACQUISITIONS AND OTHER GOVERNMENT INVESTIGATIONS
Dr. Chipty has extensive experience evaluating the competitive effects of proposed transactions
and has advised clients at various stages of their deals, including strategic advice in identifying
targets, assistance with agency review, and analyses for post-merger contestations. She has
employed economic and econometric tools to evaluate issues of market definition, critical loss
analysis, direct evidence of unilateral effects, and efficiencies. She has studied the likelihood of
temporary or permanent foreclosure, as part of a raising rivals cost strategy. In addition, she has
assessed regulatory structures and their associated effect on competition. Examples of Dr.
Chipty’s work in this area include:
   Submitted Report Studying the State of Competition in the Retail Wireless Marketplace and
    the Benefits of Additional Competition Among Wireless Service Providers, on behalf of the


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    Competition Bureau of Canada, to the Canadian Radio-Television and Telecommunications
    Commission, and testified before the CRTC on February 18, 2020, in CRTC 2019-57:
    Review of Mobile Wireless Services, November 22, 2019. Competition Bureau of Canada
    (Laura Sonley and Matthew Boswell).
   Assisted the Government of Australia, before the World Trade Organization Appellate Body,
    in “Certain Measures Concerning Trademarks, Geographical Indications and other Plain
    Packaging Requirements Applicable to Tobacco Products and Packaging,” WT/ DS441/
    DS435, November 18-22, 2019. Steptoe & Johnson (Matthew Yeo).
   Assisted parties in the formation of a joint venture between Nippon Yusen Kabushiki Kaisha
    Ltd., Mitsui O.S.K. Lines, Ltd., Kawasaki Kisen Kaisha Ltd, before the Department of
    Justice, 2017. WilmerHale (Hartmut Schneider).
   Assisted parties in the CenturyLink-Level 3 merger, before the Department of Justice and the
    Federal Communications Commission, 2017. Wachtell, Lipton, Rosen & Katz (Ilene Gotts),
    Jones Day (Bruce McDonald), and Covington & Burling (Yaron Dori).
   Assisted parties in the Charter-Time Warner Cable merger, before the Department of Justice
    and the Federal Communications Commission, 2015-2016. Wachtell, Lipton, Rosen & Katz
    (Ilene Gotts) and Jenner Block (John Flynn).
   Submitted white paper evaluating the impact of tobacco plain packaging on smoking
    prevalence in Australia, to the Australian Parliament on behalf of the Government of
    Australia, in Australia’s post implementation review of tobacco plain packaging legislation,
    2016. Australian Government Solicitor (Simon Sherwood and Simon Daley).
   Expert for the U.S. Department of Justice in its review of the One Main-Spring Leaf merger,
    2015. U.S. Department of Justice (Stephanie Fleming and Nicholas Hill).
   Coauthored a white paper, on behalf of Aeromexico, evaluating the competitive effects of
    airport slot allocation governing air traffic to and from Mexico City Airport, submitted to
    Mexico’s competition authority, 2015, (joint with Professor Robert Pindyck).
   Expert for Olin Corporation in its acquisition of Dow Chemical’s cholor-alkali business unit,
    before the Federal Trade Commission, 2014-2015. Baker Botts (William Henry and Thomas
    Dillickrath).
   Expert for the Mergers Bureau of Canada in its review of Post Media’s acquisition of Sun
    Media. Canadian Mergers Bureau (Steve Sansom and Nicholas Janota).
   Assisted the U.S. Department of Justice in its challenge of American Express’s use of
    merchant restraints, 2014-2015. U.S. Department of Justice (Craig Conrath and John Read).
   Advised the Massachusetts Health Policy Commission on the likely competitive impact of
    Partners HealthCare System’s proposed acquisition of Hallmark Health System, including
    submitting a written statement in the HPC’s Cost and Market Impact Review of the
    transaction, 2014. Health Policy Commission (Karen Tseng and Kate Scarborough).
   Advised the Massachusetts Health Policy Commission on the likely competitive impact of
    Partners HealthCare System’s proposed acquisition of South Shore Hospital, including
    submitting a written statement in the HPC’s Cost and Market Impact Review of the
    transaction, 2013-2014. Health Policy Commission (Karen Tseng and Kate Scarborough).


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   Assisted Saint Alphonsus Medical Center to evaluate the competitive effects of St. Luke’s
    Health System’s acquisition of Saltzer Medical Group, in Nampa, Idaho, 2012-2013.
    Honigman, Miller, Schwartz and Cohn (David Ettinger).
   Assisted Arris Group in its acquisition of Motorola Home business unit from Google, before
    the Department of Justice, 2013. Hogan Lovells (Logan Breed) and Troutman Sanders
    (Daniel Anziska).
   Coauthored a white paper, on behalf of Televisa, evaluating the competitive impact in the
    mobile telephone marketplace of Televisa’s proposed acquisition of 50% of GSF Telecom
    Holdings, S.A.P.I. de C.V., which owns 100% of Grupo Iusacell, S.A. de C.V. (joint with
    Almudena Arcelus and David Sosa). Submitted to Mexico’s competition authority, Federal
    Commission of Economic Competition, 2012.
   Conducted analyses and presented before staff of the FTC, in an investigation of two joint
    venture partners involving allegations of potentially anticompetitive conduct, 2011-2012.
    Baker Botts (Thomas Dillickrath and William Henry).
   Authored a white paper analyzing the likely effects of Steward Healthcare’s acquisition of
    Morton Hospital, in the greater Boston area, submitted to the State Attorney General’s office,
    June 14, 2011. Edwards Angell Palmer & Dodge (Patricia Sullivan).
   Evaluated the likely effects of the Southwest Airlines-Airtran merger, on behalf of the United
    States, Winter 2011. U.S. Justice Department (Michael Billiel and Oliver Richard).
   Coauthored a white paper, on behalf of Time Warner Cable, analyzing brinkmanship tactics
    and broadcast retransmission consent rules established by the 1992 Cable Act, submitted to
    the Federal Communications Commission (joint with Prof. Steven Salop, Dr. Martino
    DeStefano, Dr. Serge Moresi, and Dr. John Woodbury), June 3, 2010.
   Authored Federal Communication Commission Media Study #5, on behalf of the
    Commission, as part of it periodic review of the media ownership rules, analyzing the effects
    of ownership structure in broadcast radio, on program variety and advertiser and listener
    welfare, released June 2007.
   Coauthored a white paper analyzing bidding behavior and the potential competitive effects of
    the merger of Alcatel and Lucent, submitted to the Department of Justice (joint with Drs.
    Andrew Dick and Stanley Besen), April 28, 2006. Skadden, Arps, Slate Meagher & Flom
    LLP (James Keyte and Neal Stoll).
   Conducted and presented analysis before the Federal Trade Commission on behalf of Barr
    Pharmaceuticals regarding its acquisition of a hormone contraceptive product (joint with
    Prof. Steven Salop), Fall 2005. Kirkland & Ellis LLP (Mark Kovner).
   Conducted an analysis of efficiencies on behalf of Time Warner and Comcast, in their joint
    bid for Adelphia Communications (joint with Dr. Stanley Besen). Paul Weiss Rifkind
    Wharton & Garrison, LLP (Joseph Simons).
   Assisted NorthShore University HealthSystem (formerly Evanston Northwestern Health
    Corporation) with the Federal Trade Commission’s post-merger investigation of the 2000
    merger of Evanston Hospital and Highland Park Hospital. Winston & Strawn LLP (Michael
    Sibarium).



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OTHER CONSULTING EXPERIENCE, BY TOPICAL AREA
Dr. Chipty has also provided consultation to litigation clients on matters some of which
eventually settled, and she has provided business guidance to clients for strategic planning.
Examples of Dr. Chipty’s work in this area include:

Tobacco
   Assisted the Department of Justice, in United States v. Philip Morris et al., Civil Action No.
    99- 2486, a RICO case against the major tobacco manufacturers and associations involving
    allegations of conspiracy to suppress information and to suppress innovation. U.S.
    Department of Justice (Steve Brody, Renee Brooker, and James Gette).
   Assisted Appalachian Oil Company, in R.J. Reynolds Tobacco Company v. Market Basket
    Food Stores, Inc., et al., Civil Action No. 5:05-CV-253. Baker, Donelson, Bearman,
    Caldwell & Berkowitz P.C. (Gary Shockley).
   Assisted Star Scientific, in Star Scientific, Inc. v. R.J. Reynolds Tobacco Company, Case No.
    AW 01-CV-1504 and AW 02-CV-2504. Crowell and Moring (Richard MacMillan and
    Kathryn Kirmayer).

Pharmaceutical and Health Care
   Advised the working groups of the Advanced Market Commitment (“AMC”), an initiative of
    the Gates Foundation to pilot the first AMC for the pneumococcus vaccine. The goal of this
    AMC is to provide appropriate market-based incentives to induce capacity investments by
    the major pharmaceutical companies for manufacturing sufficient vaccines for low-income
    countries.
   Assisted a pharmaceutical manufacturer against Medicaid reimbursement, fraud, and unfair
    trade practices claims brought by numerous State Attorneys General. O’Melveny & Meyers
    LLP (Steve Brody and Brian Anderson) and Baker Botts LLP (Richard Josephson).
   Advised Regional Urology, in Willis-Knighton Health System and Health Plus of Louisiana,
    Inc. v. Regional Urology LLC, et al., Civil No. CV02-1094-S. Breazeale Sachse & Wilson,
    LLP (Claude Reynaud).

Media and Sports
   Assisted the YES Television Network in evaluating the value to the network of carriage
    rights for certain New Jersey Nets games, for contract renegotiation and possible arbitration.
    Boies Schiller & Flexner, LLP (Robert Dwyer).
   Assisted the Monte Carlo Tennis Tournament, in a dispute with the ATP Tour, alleging abuse
    of market power. Sidley Austin LLP (Alan Unger).
   Assisted a team of the National Football League, in a dispute with a cable operator, alleging
    vertical foreclosure. Boies Schiller & Flexner, LLP (Robert Dwyer).
   Assisted Major League Baseball in Major League Baseball Properties, Inc. v. Salvino,
    involving a challenge to the league’s use of centralized trademark licensing. Foley & Lardner
    LLP (Jim Mckeown).



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   Advised HBO on reasonable fees for music performance rights in their negotiation with BMI.
    Cravath, Swaine & Moore LLP (Kenneth Lee).
   Advised XM Satellite Radio on reasonable fees for music performance rights for business
    negotiations. Shaw Pittman LLP (Cynthia Greer).

ECONOMETRICS AND STATISTICS
Dr. Chipty is an expert in the area of statistics and econometrics and has been successful at using
econometric arguments both to construct affirmative arguments in litigation as well as to
evaluate the use of econometrics by opposing experts. Many of the projects described above used
econometric analysis. Other examples of Dr. Chipty’s work in this area are described below:
   Submitted a white paper to the European Commission, DG Competition Bureau, on behalf of
    the European Liner Affairs Association, analyzing the impact of shipping conferences on
    carriers’ ability to collude on prices (joint with Professor Fiona Scott Morton and Mr. Nils
    Von Hinten-Reed).
   Developed analyses and drafted a report on behalf of defendants in the In Re: Monosodium
    Glutamate Litigation in support of a defendants’ motion to dismiss plaintiff’s expert
    testimony based upon improper use of econometrics. Dorsey & Whitney LLP (Michael
    Lindsay) and Haynes & Boone LLP (Ronald Breaux).
   Used advanced statistical techniques along with a large volume of administrative data, on
    behalf of United Parcel Service, to evaluate the Postal Service’s expert testimony on variable
    costs. Piper & Marbury LLP (John McKeever).
   Evaluated and criticized the econometric testimony of a defendants’ expert, on behalf of a
    generic pharmaceuticals firm alleging vertical foreclosure and unlawful delay of entry.
    Solomon Zauderer (Colin Underwood).

TRISTATE RESEARCH PARTNERSHIP
Dr. Chipty was a member of the research team from 1997-1999 in this Department of Health and
Human Resources funded collaboration that included the states of Massachusetts, Alabama, and
Florida. Dr. Chipty worked with state governments to design research experiments, develop
econometric models, and process large administrative databases, in an effort to understand the
structure, administration, and impact of minimum standards regulations.
   “The Black-White Wage Gap in the Deep South: Location, Location, Location?” (with Ann
    Dryden Witte), Working Paper 98-03, Tri-State Child Care Research Partnership, Miami, FL.
   “Employment Patterns of Workers Receiving Subsidized Child Care: A Study of Eight
    Counties in Alabama,” (with Ann Dryden Witte), Available from Margie Curry, Executive
    Director, Childcare Resources, 1904 First Ave. North, Birmingham, AL 35203-4006.
   “Parents Receiving Subsidized Child Care: A Study of Alabama’s Labor Force,” (with Ann
    Dryden Witte), Working Paper 98-01, Tri-State Child Care Research Partnership, Miami, FL.




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   “Employment of Parents Receiving Subsidized Child Care in Dade County, Florida,” (with
    Harriet Griesinger and Ann Dryden Witte), Working Paper 98-03, Department of Economics,
    Wellesley College, Wellesley MA 02481.

PAPERS AND PRESENTATIONS

Published Articles
“US: Economics” (with Michael Chapman), Global Competition Review, The Antitrust Review of
the Americas 2016, available at:
http://globalcompetitionreview.com/reviews/74/sections/275/chapters/2983/us-economics/.
“Economists’ Perspective on the Efficiency Defense in Provider Consolidations: What Works,
What Doesn’t Work, and What We Still Don’t Know” (with Asta Sendonaris), American Health
Lawyer’s Association Connections Magazine, September 2015.
“Competitor Collaborations in Health Care: Understanding the Proposed ACO Antitrust Review
Process,” CPI Antitrust Chronicle, May 2011 (1).
“Vertical Integration, Market Foreclosure, and Consumer Welfare in the Cable Television
Industry,” American Economic Review, Vol. 91, No. 3, June 2001, pp. 428-453.
“The Role of Buyer Size in Bilateral Bargaining: A Study of the Cable Television Industry”
(with Christopher Snyder), Review of Economics and Statistics, May 1999, 81(2): 326-340.
“Economic Effects of Quality Regulations in the Daycare Industry,” American Economic
Review, Vol. 85, No. 2, May 1995, pp. 419-424.
“Horizontal Integration for Bargaining Power: Evidence from the Cable Television Industry,”
Journal of Economics and Management Strategy, Vol. 4, No. 2, Summer 1995, pp. 375-397.
“A Marginal Cost Transfer Pricing Methodology,” Tax Notes, Nov. 26, 1990 (with Ann Dryden
Witte, Wellesley College and NBER).

Chapters in Books
“Hospital-Physician Integration: The St. Luke’s Case” (with Deborah Haas-Wilson), in The
Antitrust Revolution, 7th Edition (Oxford University Press), edited by John Kwoka and Lawrence
White.

Books Edited
Proving Antitrust Damages, 3 rd Edition, (American Bar Association, 2017).

Book Reviews
The Antitrust Source, October 2007, Book Review of Michael D. Whinston, Lectures on
Antitrust Economics (Cambridge, MIT Press, 2006).




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The Journal of Economic Literature, June 1992, Vol. XXX, No. 2, Book Review of Frank
Cowell, Cheating the Government (with Ann Dryden Witte, Wellesley College and NBER)
(Cambridge, MIT Press, 1990).

Working Papers
“In a Race Against the Clock: Auctioneer Strategies and Selling Mechanisms in Live Outcry
Auctions,” 2014 (with Lucia Dunn and Stephen Cosslett, the Ohio State University).
“Efficient Estimation Via Moment Restrictions,” (with Whitney K. Newey).
“Antidumping and Countervailing Orders: A Study of the Market for Corrosion-Resistant Steel,”
(with Brian L. Palmer).
“Firms’ Responses to Minimum Standards Regulations: An Empirical Investigation” (with Ann
Dryden Witte), NBER Working Paper # 6104.
“Effects of Information Provision in a Vertically Differentiated Market” (with Ann Dryden
Witte), NBER Working Paper # 6493.
“Unintended Consequences? Welfare Reform and the Working Poor” (with Ann Dryden Witte,
Magaly Queralt, and Harriet Griesinger), NBER Working Paper # 6798.

Select Invited Presentations and Interviews
Georgetown on the Hill, “New Debates and New Tensions in Antitrust: What’s Different About
Platforms?” March 2, 2020.
ABA Teleseminar: “The Role of Intent in Monopolization, Merger and Other Civil Cases,”
February 28, 2020.
ABA Teleseminar: “Are You Ready for Some Football (and Antitrust)?! What Does the NFL
Sunday Ticket Litigation Bode for Sports Collaborations?” December 9, 2019.
ABA Teleseminar: “Nuts & Bolts Program: Market Definition,” June 27, 2019.
FTC Hearings #3: Competition and Consumer Protection in the 21st Century, October 2018.
Interview with the Antitrust Practice Group, AHLA Antitrust Spotlight Series, March 2018.
ABA Webinar: “Market Definition in section 2 and section 7: The same but not the same?
Questions of fact or law?” November 2017.
International Congress of Addictology Albatros, “Economics of Tobacco Plain Packaging:
Australian Legislation,” May 2017.
Federal Communication Commission’s Event on Challenges Facing Independent Programmers,
April 2016, available at: https://www.youtube.com/watch?v=8yxC_3M4IWA.
Federal Communication’s Panel on Challenges Facing Multichannel Video Programming
Distributors, March 2016, available at: https://www.youtube.com/watch?v=03CMDtdpRDQ.
ABA Webinar: “Sports Leagues Claims After 5 Years After American Needle,” 2015.




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NYSBA Antitrust Class Action Program: “Comcast v. Behrend: Interpretation and Application
of Comcast to Damages Issues in Class Certification,” 2015.
AHLA Annual Meetings: “Antitrust and Provider Mergers and Affiliations: Competition vs.
More Affordable Care?” 2015.
AHLA Webinar: “Antitrust Implications and Lessons Learned from the Ninth Circuit Decision in
St. Luke’s,” 2015.
ABA Webinar: “St. Lukes: State and Federal Enforcement in Non-Reportable Program,” 2015.
NYC Bar Antitrust and Healthcare Program, 2015.
NYSBA Antitrust Law Section Annual Meetings: “Efficiencies: The Cheshire Cat of Merger
Analysis,” 2014.
NYC Bar Antitrust & Trade Regulation Committee: “Approaches to Antitrust Damages,” 2014.

PROFESSIONAL SERVICE
Defendant’s expert at the ABA Mock Trial involving the issue exclusivity, in the form of
theaters’ use of clearances, 2017.
Vice Chair of the Antitrust Practice Group of the American Health Lawyers Association, 2014-
    2016.
Advisory board of the Pricing Conduct Committee, 2011-2012.
Editorial comments on a chapter of the ABA’s Price Discrimination Handbook, 2011.
Plaintiffs’ expert at the ABA Mock Trial involving the issue of resale price maintenance, 2008.
Editorial comments on a chapter of the ABA’s book on Market Definition, 2008.
Contribution to the ABA’s Econometrics Legal, Practical, and Technical Issues, 2005.

MEMBERSHIPS
American Health Lawyers Association
American Bar Association
American Economic Association

HONORS
National Science Foundation Fellowship, 1989-1992
Phi Beta Kappa, 1988




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                                 Appendix B: Materials Considered

All materials cited in this report, all materials listed in Appendix B of Chipty SJ Declaration,
Chipty Class Declaration, Chipty Reply Declaration, Chipty Merits Report, Chipty Merits
Rebuttal Report, Appendix A of Chipty Supplemental Report, Appendix C of Chipty
Supplemental Declaration, and the following:

 I.         Expert Reports and Declarations
       x   Rebuttal Declaration of Patrick Travis and Backup Production, January 31, 2020.

       x   Supplemental Declaration of Dr. Robert D. Willig and Backup Production, January 31,
           2020.

 II.        Depositions and Associated Exhibits
       x   Deposition of Patrick Travis, Djeneba Sidibe, et al. v. Sutter Health, Case No. 3:12-cv-
           4854-LB, February 27, 2020.

       x   Deposition of Robert D. Willig, Ph.D., Djeneba Sidibe, et al. v. Sutter Health, Case No.
           3:12-cv-4854-LB, February 25, 2020.

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Appendix E: Additional Exhibits Showing Dr. Willig’s RA-by-RA Pass-Through Esitmates

      Exhibit E1: Dr. Willig’s Figure A1, Showing RA-Level Pass-Through Estimates,
       Calculated on a Dollars-Basis, with Confidence Intervals, Anthem Individual




Note: Pass-through on a dollars-basis is calculated by multiplying Dr. Willig’s percentage-basis pass-through
estimates by the average ratio of premium dollars to all medical costs reported in the MLR Data for Anthem’s
individual line of business for the overlapping years in the Production Data and MLR Data.
Sources: Willig Supplemental Declaration, Figure A1 and backup production; and MLR Data.




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      Exhibit E2: Dr. Willig’s Figure A3, Showing RA-Level Pass-Through Estimates,
     Calculated on a Dollars-Basis, with Confidence Intervals, Blue Shield Small Group




Note: Pass-through on a dollars-basis is calculated by multiplying Dr. Willig’s percentage-basis pass-through
estimates by the average ratio of premium dollars to all medical costs reported in the MLR Data for Blue Shield’s
small group line of business for the overlapping years in the Production Data and MLR Data.
Sources: Willig Supplemental Declaration, Figure A3 and backup production; and MLR Data.




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   Appendix F: Dr. Willig’s Table 5 RA-Level Pass-Through Estimates,
   Calculated on a Dollar-Basis, for Anthem Individual, 2008 and 2016




 Note: Pass-through on a dollars-basis is calculated by multiplying Dr. Willig’s percentage-
 basis pass-through estimates by the average ratio of premium dollars to all medical costs
 reported in the MLR Data for Anthem’s individual line of business for the overlapping years
 in the Production Data and MLR Data.
 Sources: Willig Supplemental Declaration, Table 5 and backup production; and MLR Data.




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